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 1   Baruch C. Cohen, Esq. (SBN 159455)
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 3   Los Angeles, California 90010
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 5   Attorney For Defendant Nicholas Silao

 6

 7                                  UNITED STATES BANKRUPTCY COURT

 8                                   CENTRAL DISTRICT OF CALIFORNIA

 9                                         RIVERSIDE DIVISION

10

11    In re                                       Case No. 6:17-bk-19336-SY

12    PANDORA HOSPICE CARE, INC.                  Adv. 6:18-ap-01193-SY

13            Debtor                              Before the Honorable Scott H. Yun
      _________________________________
14                                                Chapter 7
      KARL T. ANDERSON, CHAPTER 7
15    TRUSTEE                                     DEFENDANT’S RENEWED MOTION TO
                                                  ALLOW WITHDRAWAL OF DEEMED
16                      Plaintiff                 ADMISSIONS F.R.C.P. 36(B);
                                                  DECLARATIONS OF BARUCH C. COHEN,
17    vs.                                         NICHOLAS SILAO & SANAZ S. BERELIANI

18    NICHOLAS SILAO                              Date: 3-26-2020
                                                  Time: 1:30pm
19                     Defendant                  Courtroom: 302
                                                  Place: 3420 Twelfth Street, Riverside, CA
20

21
               TO THE HONORABLE SCOTT H. YUN, UNITED STATES BANKRUPTCY COURT
22
     JUDGE, PLAINTIFF KARL T. ANDERSON, CHAPTER 7 TRUSTEE, AND ALL INTERESTED
23
     PARTIES:
24
               PLEASE TAKE NOTICE that on 3-26-2020 at 1:30pm in the Courtroom of the Honorable
25
     Scott H. Yun, United States Bankruptcy Judge, Courtroom 302 located at the United States
26
     Bankruptcy Court Central District of California 3420 Twelfth Street, Riverside, CA 92501, Defendant
27
     Nicholas Silao (hereinafter, "Defendant"), hereby moves to allow withdrawal of deemed admissions.
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 1             The Motion will be based on this Notice, on the attached Memorandum of Points and

 2   Authorities, the declarations of Baruch C. Cohen, Nicholas Silao & Sanaz Sarah Bereliani, on all the

 3   papers and records on file in this action, and on such oral and documentary evidence as may be

 4   presented at the hearing of the Motion.

 5             Defendant bring this Motion pursuant to F.R.C.P. 36(b) that withdrawal or amendment of the

 6   Admissions that were deemed admitted : 1) would serve the presentation of the case on its merits, and

 7   2) would not prejudice the party that obtained the admissions in its presentation of the case.

 8             Pursuant to Local Bankruptcy Rule 9013-1, any objection or response to this Motion must be

 9   stated in writing, filed with the Clerk of the Court and served on Defendant and his counsel no later

10   than fourteen days prior to the hearing. Failure to so state, file and serve any opposition may result

11   in the Court failing to consider the same.

12

13   DATED:           February 25, 2020            LAW OFFICE OF BARUCH C. COHEN, APLC

14                                                 By     /S/ Baruch C. Cohen
                                                   Baruch C. Cohen, Esq.
15                                                 Attorney For Defendant Nicholas Silao

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 4   Cacevic v. City of Hazel Park, 226 F.3d 483, 490 (6th Cir. 2000) . . . . . . . . . . . . . . . . . . . . . . -17-

 5   Donovan v. Carls Drug Co., Inc., 703 F.2d 650, 652 (2d Cir. 1983) . . . . . . . . . . . . . . . . . . . . -15-

 6   French v. United States, 416 F.2d 1149, 1152 (9th Cir. 1968) . . . . . . . . . . . . . . . . . . . . . . . . . -13-

 7   In re American Auto., 930 F.2d at 1120 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -15-

 8   In re Conlon, 474 F.3d at 623 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -15-

 9   In re Phenylpropanolamine Prods. Liab. Litig., 460 F.3d 1217, 1228 (9th Cir. 2006) . . . . . . . -14-

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14   Sonoda v. Cabrera, 255 F.3d 1035, 1039-40 (9th Cir. 2001 . . . . . . . . . . . . . . . . . . . . . . . . . . . -14-

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 1   1.        MEMORANDUM OF POINTS & AUTHORITIES

 2             a.     FACTS

 3                    i.      PLAINTIFF’S COMPLAINT

 4             On 11-8-2017, the Debtor Pandora Hospice Care, Inc., commenced this bankruptcy proceeding

 5   Case No. 6:17-bk-19336-SY.

 6             On 10-2-2018, Plaintiff filed this adversary action entitled: Karl T. Anderson against Nicholas

 7   Silao, Adversary case 6:18-ap-01193, entitled Chapter 7 Trustee’s Complaint for Turnover of

 8   Property of the Bankruptcy Estate by an Entity That Owes a Debt to the Estate under Chapter 7

 9   Trustee’s Complaint for Turnover of Property of the Bankruptcy Estate by an Entity That Owes a

10   Debt to the Estate under Section 542(b) of the Bankruptcy Code [Doc-1].

11             ¶7 of the Complaint alleged that the Debtor (Pandora) loaned/transferred $137,000 to Nicholas

12   Silao, allegedly based on the Debtor’s federal income tax returns signed under penalty of perjury

13   reflected the outstanding loan owed to the Debtor’s bankruptcy estate.

14                    ii.     BERELIANI’S “LIMITED” RETENTION OF DEFENDANT

15             On 10-25-2018, Sanaz S. Bereliani (“Bereliani”) executed an (“initial”) Attorney Client Fee

16   Contract with Defendant Nicholas Silao to (“only”) file an Answer to the Complaint to prevent a

17   default and charged him $850.00. Bereliani retainer agreement provided that she would notify

18   Defendant of “each step of the process.”1

19                    iii.    DEFENDANT’S ANSWER

20             On 10-31-2018, Bereliani, pursuant to her Attorney Client Fee Contract with Defendant filed

21   an Answer to the Complaint [Doc-4].

22             In Defendant’s 10-31-2018 Answer, Bereliani asserted a 2nd Affirmative Defense that Plaintiff

23   has insufficient evidence to establish their case, and a 4th Affirmative Defense that even if the Plaintiff

24   had a legitimate claim against the Defendant, that claim is excepted from turnover to the extent that

25   such debt may be offset under 11 U.S.C. § 553.

26

27             1
             A true and correct copy of Bereliani’s 10-25-2018 Attorney Client Fee Contract with
     Defendant is attached hereto as Exhibit “1” and is incorporated herein by this reference.
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 1                    iv.     THE JOINT STATUS REPORT

 2             On 1-2-2019, notwithstanding her limited scope of retention to only file an Answer, Bereliani

 3   subsequently participated in filing a Joint Status Report [Doc-5]2 and in the Joint Status Conference

 4   via an appearance attorney.3

 5             Of particular interest, in Section # 5 Bereliani represented that given the holidays, the parties

 6   have not had a chance to meet and confer, but will definitely do so before the Status Hearing of 1-17-

 7   2019.

 8             In Section # B1 (Readiness for Trial), Bereliani represented that she would be ready for trial

 9   in July 2019.

10             In Section Question # B2 (Readiness for Trial), Bereliani represented that her reason for being

11   ready for trial in July 2019 was because she intended to propound discovery and attend mediation.

12             In Section # B3 (Readiness for Trial), Bereliani represented that she expects to complete her

13   discovery by May 2019.

14             In Section # C1 (Trial Time), Bereliani represented that her estimate of trial would be 1 court

15   day.

16             In Section # D (PreTrial Conference), Bereliani represented that Defendant requested a pretrial

17   conference after 5-31-2019.

18             In Section # E (Settlement), Bereliani represented that Defendant requested that this case be

19   mediated.

20             In Section # F (Final Judgment Order), Bereliani represented that Defendant consented to this

21   Court’s jurisdiction.

22             Pursuant to the Status Conference and Scheduling Order Pursuant to LBR 7016-1(a)(4) [Doc-

23   10], the discovery cutoff was 6-28-2019, the pre-trial stipulation was due 8-1-2019, the pretrial

24

25
               2
              A true and correct copy of the 1-2-2019 Joint Status Report [Doc-5] is attached hereto as
26   Exhibit “2” and is incorporated herein by this reference.
27             3
              A true and correct copy of the Transcript of the Status Conference is attached hereto as
     Exhibit “3” and is incorporated herein by this reference.
28

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 1   hearing was 8-15-2019, and the mediation completion date was 7-31-2019.

 2             So while Bereliani’s retainer was limited to only filing an Answer, it appears that Bereliani

 3   continued representing Defendant past the filing of the Answer, into the Status Conference stage.

 4                    v.      BERELIANI’S REPORT TO DEFENDANT ABOUT THE STATUS

 5                            CONFERENCE - BEFORE & AFTER

 6             On 1-15-2019 at 4:45pm, Bereliani wrote Defendant:

 7             I mentioned to Nick that the Status Conference Scheduled with Judge Yun for
               Thursday at 9:30am in Riverside is a Mandatory hearing that cannot be continued. Its
 8             like a scheduling hearing, we'll be setting deadlines for all three of your cases
               -discovery, etc. That being said, either you or someone from my office needs to be
 9             there to represent you. I can have Mike Smith appear on your behalf and set the
               hearing dates going forward, scheduling them out as far as possible to buy you some
10             time. However, please note that the retainer you initially signed with my office
               retained me only for preparing and filing the Answers to the Complaints. I have not
11             been retained further. [Emphasis added].4

12             On 1-31-2019 at 2:09pm, Bereliani reported to Defendant (and his brothers) about her

13   appearance at the Status Conference and future deadlines.

14             On 2-6-2019 at 11:22am, Bereliani wrote Defendant (and his brothers):

15             “...At this point, please note that our office is not retained to represent you in your
               cases as our retainer was of a “limited scope” and we have been unsuccessful in
16             scheduling a call to discuss further representation and action on your behalf. If I do
               not hear from you by Thursday evening as to a conference call time for all of us to
17             speak together ASAP then I will be preparing a Substitution of Attorney for you to
               sign to advise the court that the limited scope retainer has expired. This will not
18             affect your case with the Trustee but just Update the Status of your representation.”
               [Emphasis added]5
19
               So now, Bereliani is telling Defendant, that she is no longer retained, and that if Defendant
20
     does not substitute her out immediately, she will be forced to withdraw.
21
               On 2-11-2019 at 1:44pm, Bereliani wrote Defendant:
22
               “...However, be mindful that this case is still pending and you do need to either be
23             in contact with the Trustee or to retain new counsel to proceed on your behalf if you
               wish to proceed. Unfortunately, with the lack of communication or further
24

25
               4
              A true and correct copy of Bereliani’s 1-15-2019 at 4:45pm letter to Defendant is attached
26   hereto as Exhibit “4” and is incorporated herein by this reference.
27             5
              A true and correct copy of Bereliani’s 2-6-2019 at 11:22am letter to Defendant is attached
     hereto as Exhibit “5” and is incorporated herein by this reference.
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 1             representation agreement, I am not able to proceed on your behalf.” [Emphasis added]6

 2                    vi.     INITIAL DISCLOSURES

 3             Both parties did not serve each other with Initial Disclosures pursuant to F.R.C.P. 26(f)(1).

 4                    vii.    PLAINTIFF’S REQUEST FOR ADMISSIONS

 5             On 3-7-2019, Plaintiff’s counsel propounded Requests for Admission [Set One] (“RFA’s”) to

 6   Defendant, and per the Proof of Service signed under penalty of perjury, Plaintiff mailed it to

 7   Bereliani at her office at the Bereliani Law Firm, 11400 W Olympic Blvd Ste 200, Los Angeles, CA

 8   90064.7 The RFA’s in question were:

 9             RFA # 4. The Debtor loaned/transferred $137,000 to Defendant, Nicholas Silao. The Debtor’s

10   2016 Federal Income Tax Returns signed under penalty of perjury reflected the outstanding loan owed

11   by Defendant, Nicholas Silao to the Corporate Debtor.

12             RFA # 5. Pursuant to the Debtor’s 2016 Federal Income Tax Returns, Defendant, Nicholas

13   Silao owes the Plaintiff/Chapter 7 Trustee no less than $137,000, plus any and all costs of collection.

14             RFA # 6. Plaintiff/Chapter 7 Trustee is entitled to pre-judgment interest as provided under

15   applicable non-bankruptcy law.

16             RFA # 7. Defendant, Nicholas Silao has no defenses and/or counterclaims to Plaintiff/Chapter

17   7 Trustee’s demand for $137,000.

18             RFA # 8. Defendant, Nicholas Silao has no facts that dispute Plaintiff/Chapter 7 Trustee’s

19   entitlement to $137,000 demanded in the Trustee’s Complaint.

20             RFA # 9. Defendant, Nicholas Silao has no documents, notes or other writings that disputes

21   the Trustee’s entitlement to $137,000 demanded in the Trustee’s Complaint.

22             RFA # 10. Defendant, Nicholas Silao has no witnesses that dispute the Trustee’s entitlement

23   to $137,000 demanded in the Trustee’s Complaint.

24

25
               6
              A true and correct copy of Bereliani’s 2-11-2019 at 1:44pm letter to Defendant is attached
26   hereto as Exhibit “6” and is incorporated herein by this reference.
27             7
              A true and correct copy of Plaintiff’s 3-7-2019 Requests for Admission [Set One] is attached
     hereto as Exhibit “7” and is incorporated herein by this reference.
28

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 1             Pursuant to F.R.C.P. 36(a)(3) and F.R.C.P. 6(d), Defendant had 35 days from 3-7-2019 to

 2   serve Plaintiff with a written response to the RFA’s or by 4-11-2019.

 3             Defendant did not respond to Plaintiff’s RFA’s, because Bereliani never forwarded the RFA’s

 4   to him, he never received them, and was not even aware of them. Consequently, the matters set forth

 5   in Plaintiff’s RFA’s were automatically admitted by operation of law (F.R.C.P. 36).

 6                    viii.   BERELIANI’S MOTION TO WITHDRAW

 7             (Presumably, 1-week after she received Plaintiff’s RFA) on 3-15-2019, Bereliani formally

 8   moved to withdraw as counsel of record [Doc-12], and on 4-16-2019, the Court entered its Order

 9   Granting Motion To Withdraw As Counsel Of Record [Doc-16].

10                    ix.     PLAINTIFF’S UNILATERAL PRETRIAL REPORT

11             On 8-8-2019, Plaintiff filed his Unilateral Pre-Trial Stipulation and Declaration [Doc-23]

12   reporting that Defendant did not respond to Plaintiff’s RFA’s, and were deemed admitted.8 Both

13   documents did not attach a copy of the RFA’s, and Plaintiff did not list the RFA’s as an exhibit to

14   be used at trial.

15                    x.      COHEN’S RETENTION & DISCOVERY OF THE RFA’S

16             On 7-5-2019, the Court entered an Order Rescheduling the pretrial conference to 8-22-2019

17   [Doc-21].

18             On 8-9-2019, Defendant formally retained litigation counsel Baruch Cohen to defend him in

19   this action, who then filed the Substitution of Attorney [Doc-25] on 8-12-2019. But before being

20   formally retained, Cohen specifically inquired of Defendant whether he received any discovery from

21   Plaintiff in this adversary. Defendant responded that he did not. On that basis, Cohen took the case,

22   and was contemplating filing a declaration pursuant to LBR 7016-1(E)(2). Cohen then checked

23   PACER and discovered Plaintiff’s Unilateral Pre Trial and Declaration filings of 8-8-2019, and was

24   surprised, to see that Defendant did not respond to Plaintiff’s RFA’s, and were deemed admitted.

25   Cohen needed to see the RFA’s (that were omitted from Plaintiff’s 8-8-2019, Unilateral Pre-Trial

26

27             8
              A true and correct copy of Plaintiff’s 8-8-2019 Unilateral Pre-Trial Stipulation [Doc-23] is
     attached hereto as Exhibit “8” and is incorporated herein by this reference.
28

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 1   Stipulation and Declaration, and instructed Defendant to request his entire file from Bereliani.

 2                    xi.     BERELIANI’S FILE

 3             On 8-7-2019 at 10:42am, Defendant wrote Berliani (copying Cohen) and demanded his file

 4   from her pursuant to the California Rule of Professional Responsibility 4-100(B)4, that provides that

 5   an attorney must promptly pay or deliver, as requested by the client, any funds, securities, or other

 6   properties in the possession of the member which the client is entitled to receive.

 7             On 8-7-2019, at 2:17pm, Berliani wrote back:

 8             “Not much - Nick went MIA on us shortly after the beginning and we just bought him
               time with the Tee's attorney... “ [Emphasis added]9
 9
               On her 8-7-2019 email, Bereliani sent the following 12 documents to Cohen: (1) The
10
     Complaint; (2) the Retainer Agreement; (3) A Waiver of Conflict of Interest for a Joint Representation
11
     signed by Nick Silao; (4) A Waiver of Conflict of Interest for a Joint Representation signed by Ray
12
     Silao; (5) A Paypal receipt of Nick''s payment to you; (6) the Answer to the Complaint; (7) Another
13
     copy of the Answer to the Complaint; (8) the filed JSR; (9) the filed Scheduling Order; (10) a blank
14
     form Substitution of Attorney; (11) the Order Granting your Motion to Withdraw; & (12) the LOU
15
     receipt of her Order Granting her Motion to Withdraw.
16
     [Note: Berliani did not acknowledge in her file, and did not produce to Cohen, Plaintiff’s RFA’s,
17
     notwithstanding Plaintiff’s 3-7-2019 Proof of Service to her while she was still Defendant’s
18
     counsel (Bereliani moved to withdraw as counsel of record on 3-15-2019) [Doc-12]).
19
               On 8-8-2019, at 6:53am, Cohen wrote Berliani: “....Was any discovery done in this adversary?
20
     If so, please send them.”
21
               On 8-8-20189 at 8:16am, Berliani responded:
22
               “Per my previous email, there was no communication by your client so no nothing
23             further was done. They retained me on a limited scope and were not in touch after
               with further instruction or guidance. I recommend calling Trustees counsel regarding
24             case status, I’m surprised they haven’t filed anything else yet. Nick got lucky.”

25

26

27             9
             A true and correct copy of Berliani’s 8-7-2019 at 2:17pm letter to Cohen is attached hereto
     as Exhibit “9” and is incorporated herein by this reference.
28

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 1             [Emphasis added]10

 2             On 8-9-2019 at 6:34am, Cohen wrote Berliani informing her that Plaintiff's Unilateral Pretrial

 3   stated that he indeed propounded RFA's to the Defendant that were now deemed admitted. Cohen

 4   asked Berliani why wasn't Cohen given copies of this discovery?”

 5             On 8-9-2019 at 12:17pm, Berliani responded:

 6             “Ps I'll speak to my office regarding receipts of anything on their end but please note
               we were retained specifically for an answer and joint status report and conference.
 7             We had no further involvement or guidance. Lastly, I appreciate your
               professionalism going forward.”11
 8
     [Note: notwithstanding Bereliani’s retainer to only file an Answer, now she writes that she was
 9
     also retained for the joint status report and conference].
10
                      xii.    COHEN’S PRESENTATION OF DEFENDANT’S RESPONSE TO
11
                              RFA’S AND PRODUCTION OF EVIDENCE
12
               On Friday 8-9-2019 at 11:22am, Cohen wrote Plaintiff’s counsel to meet & confer regarding
13
     Plaintiff’s Unilateral Pre Trial [Doc-23] and Declaration [Doc-24] in advance of the upcoming Pre
14
     Trial hearing of 8-22-2019. Cohen further stated that Defendant has evidence to dispute Plaintiff’s
15
     turnover claim for $137,000.00, that he has witnesses and exhibits re same. Cohen produced these
16
     documents to counsel sight unseen, without the Plaintiff having to formally demand them from
17
     Defendants to substantiate Defendant’s claim that he has exhibits to support his defense. (See email
18
     chain below)
19
               Specifically, Cohen asked Plaintiff’s counsel: (1) to see Plaintiff’s F.R.C.P. 26 Initial
20
     Disclosures; (2) to See Plaintiff’s Discovery; (3) to show Plaintiff that Defendant has evidence to
21
     dispute Plaintiff’s turnover claim for $137,000.00; & (4) to seek clarification regarding Plaintiff’s
22
     efforts to meet & confer with Defendant regarding the Joint Pre-Trial Report.
23
               Cohen presented to Plaintiff:
24

25
               10
              A true and correct copy of Berliani’s 8-8-2019 at 8:16am letter to Cohen is attached hereto
26   as Exhibit “10” and is incorporated herein by this reference.
27             11
               A true and correct copy of Berliani’s 8-8-2019 at at 12:17pm letter to Cohen is attached
     hereto as Exhibit “11” and is incorporated herein by this reference.
28

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 1             Pandora’s loan report to the Silao brothers reflecting that during the period of 12-16-2013 -

 2   5-20-2015, Defendant lent Pandora approximately $442,000.00 (and that his brothers Michael Silao

 3   lent Pandora $70,000.00, Sam Silao lent Pandora $6,000.00, & Ray Silao lent Pandora $143,911.37,

 4   totaling $662,411.37).

 5             The last page of Pandora’s 2014 tax return (FYE 12-31-2014) Form 1120, Page 5, Schedule

 6   L, Line 19, entitled: “Loans from Shareholders” showing that my client was owed $389,750.00 by

 7   Pandora for that year (“Loan Payable N Silao”);

 8             The last page of Pandora’s 2015 tax return (FYE 12-31-2015) Form 1120, Page 5, Schedule

 9   L, Line 19, entitled: “Loans from Shareholders” showing that my client was owed between

10   $389,750.00 - $297,250.00 by Pandora for that year (“Loan Payable N Silao”);

11             Pandora’s Balance Sheet as of 12-31-2015, under the section entitled: “Liabilities & Equity”

12   reflecting “Loan/Financing Payable N. Silao $297,250.00;

13             The last page of Pandora’s 2016 tax return (FYE 12-31-2016) Form 1120, Page 5, Schedule

14   L, Line 19, entitled: “Loans from Shareholders” showing that my client was owed between

15   $297,250.00 - $295,250.00 by Pandora for that year (“Loan Payable N Silao”);

16             Pandora’s (9) checks to my client that contain the notation: “Reimbursement - Loan:”

17                    Pandora’s 7-31-2015 check # 9001 to Defendant for $25,000.00;

18                    Pandora’s 9-4-2015 check # 9002 to Defendant for $25,000.00 contains the notation:

19   “Loan Repayment;”

20                    Pandora’s 9-15-2015 check # 1112 to Defendant for $2,500.00 contains the notation:

21   “Reimbursement - Loan;”

22                    Pandora’s 10-9-2015 check # 9003 to Defendant for $25,000.00 contains the notation:

23   “Loan Repayment;”

24                    Pandora’s 10-15-2015 check # 1130 to Defendant for $2,500.00 contains the notation:

25   “Reimbursement;”

26                    Pandora’s 11-1-2015 check # 1131 to Defendant for $2,500.00 contains the notation:

27   “Reimbursement;”

28

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 1                     Pandora’s 11-2-2015 check # 0005 to Defendant for $25,000.00 contains the notation:

 2   “Loan Repayment;”

 3                     Pandora’s 12-1-2015 check # 1132 to Defendant for $2,500.00 contains the notation:

 4   “Reimbursement;”

 5                     Pandora’s 12-2-2015 check # 8655 to Defendant for $25,000.00 contains the notation:

 6   “Loan Repayment.”

 7             Cohen disclosed Defendant’s witnesses to counsel: Defendant; the other Silao brothers;

 8   Pandora’s CPA Rufino Reyes Magpayo.

 9                     xiii.   ATTEMPTS TO FIGURE OUT WHAT’S GOING ON AND MEET &

10                             CONFER

11             On Sunday 8-11-2019, Plaintiff’s counsel emailed Cohen stating:

12             “Thanks for your email. Please know I will not litigate this matter via email, thus if
               you believe your client is entitled to relief from the Court, please file a properly
13             noticed motion pursuant to the Local Bankruptcy Rules. Consequently, at this point
               we are proceeding in the ordinary course pursuant to the Court’s presently set
14             scheduling order. Finally, if you intend to proceed with any type of judicial relief,
               please note I’ll be traveling to and from Shanghai China for my son’s college freshman
15             activities between the afternoon of August 22 and returning to the OC on or about
               August 29, 2019, thus we will object to any relief that requires my office to take action
16             during that time period. Thank you.”12

17             On 9-4-2019, Cohen wrote Plaintiff again.

18             “I am writing you to meet & confer regarding: (1) the proposed Joint Pre Trial
               Stipulation; (2) the proposed Motion in Limine, & (3) the proposed Motion to
19             Withdraw the Deemed Admissions pursuant to F.R.C.P. 36(b). As I wrote you on
               8-9-2019, I’m running blind here, because I do not have: (1) Plaintiff’s F.R.C.P. 26
20             Initial Disclosures; & (2) Plaintiff’s written discovery including Plaintiff’s Request for
               Admissions (“RFA's”). Both Ms. Bereliani and my client informed me that they do not
21             have copies of them. Accordingly, please provide them to me. If I do not receive them
               from you, I will have no choice but to file the proposed motions. As I indicated in
22             Defendant’s 8-12-2019 Unilateral Pre-Trial Report [Doc-28], Defendant intends to file
               a Motion in Limine to exclude Plaintiff’s evidence at trial, based on Plaintiff’s failures
23             to comply with FRCP 26. Your cooperation in providing me with the requested
               documents will impact greatly on whether I will file the Motion in Limine or not. I
24             also indicated that Defendant intends to file a Motion to Withdraw the Deemed
               Admissions pursuant to F.R.C.P. 36(b), based on my client’s representation that he
25

26
               12
               A true and correct copy of counsel’s email chain of 8-11-2019 (including Cohen’s 8-9-2019
27   meet & confer letters (without exhibits) attached hereto as Exhibit “12” and is incorporated herein
     by this reference.
28

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 1             never received Plaintiff’s (alleged) Request for Admissions. Please advise if Plaintiff
               will stipulate to withdraw the deemed admissions and I will gladly prepare the
 2             stipulation and order. To expedite the process, enclosed please find Defendant’s
               Verified Response to Request for Admissions that is based on Plaintiff’s Unilateral
 3             PreTrial Report that identified the six (6) Requests for Admission.

 4   Cohen served Plaintiff’s Counsel with Defendant’s Verified Response to Request for Admissions
     (denying the above-referenced RFA’s).13
 5
               On 9-11-2019, Plaintiff responded:
 6
               “Baruch, I never received a response from you last week regarding the Meet and
 7             Confer issues noted in your 9/4/11 faxed letter. I had proposed a “Meet and Confer”
               telephone call for Friday September 6, 2019 but never heard back from you. Secondly,
 8             I don't understand the legal effect if any of the verified responses included with your
               9/4/19 fax. Rather, I've enclosed the RFAs that were properly served on your client's
 9             former counsel at her address of record in the above-captioned Adversary
               proceeding. Thus pursuant to F.R.C.P. 36 (made applicable to this Adversary
10             Proceeding per Rule 7036 of the Fed Rules of Bankr Procedure) the unresponded to
               RFAs are still, enforceable and we intend to use them until there's a court order to the
11             contrary. Any questions or comments, please let me know. thanks.” Plaintiff attached
               a copy of an RFA. [Emphasis added]
12
               On 9-11-2019, Cohen responded:
13
               “Tom: I do not recall you proposing, and me accepting, a proposed meet & confer with
14             me on 9-6-2019. But I'm happy to do so immediately. I also want to state
               emphatically, that Berliani did not share your RFA with me, and that Nick Silao
15             swears over a stack of bibles that he never received them. Finally, I need to see your
               Initial Disclosures. As I’m sure you know, F.R.C.P. 26(d)(1) prohibits discovery
16             before the parties have met & conferred as required by F.R.C.P. 26(f). If you did not
               do a F.R.C.P. 26 Initial Disclosure, the RFA's would be improper. If you did do a
17             F.R.C.P. 26 Initial Disclosure, please provide it to me. I've now asked you for this
               twice.”14
18
               On 9-11-2019 at 8:55pm, Cohen returned to Berliani informing her that Plaintiff sent Cohen
19
     an RFA that purports to have been served on her office on 3-7-2019 at her address On 3-15-2019, she
20
     moved to withdraw as counsel to Defendant. So she must have had the 3-7-2019 RFA's in her file
21
     before she moved to withdraw on 3-15-2019. Yet, she did not produce it to Defendant or to Cohen
22

23             13
               A true and correct copy of Cohen’s 9-4-2019 Meet & Confer letter Re: Proposed Joint Pre
     Trial Stipulation; Proposed Motion in Limine, & Proposed Motion to Withdraw the Deemed
24
     Admissions pursuant to F.R.C.P. 36(b) and Defendant’s Verified Response to Request for Admissions
25   that is based on Plaintiff’s Unilateral PreTrial Report that identified the six (6) Requests for
     Admission, that includes Defendant’s Verified Response to Request for Admissions is attached hereto
26   as Exhibit “13” and is incorporated herein by this reference.
27             14
               A true and correct copy of counsel’s 9-11-2019 email exchange is attached hereto as
     Exhibit “14” and is incorporated herein by this reference.
28

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 1   in violation of Rule 4-100(b)(4). Cohen was very concerned that she had this RFA in her file and did

 2   not produce it when Defendant demanded it. So Cohen asked her again: “Did Plaintiff send you

 3   Plaintiff's FRCP 26 Initial Disclosures? If so, please send it. Was any discovery done in this

 4   adversary? If so, please send them.” Cohen was very concerned that now the RFA's are deemed

 5   admitted, and Defendant will now have to spend money to file a Motion to have the Deemed

 6   Admissions Withdrawn, which he should not have to do, had she forwarded to him the RFA's when

 7   you received it on 3-7-2019.15

 8             On 9-12-2019, Cohen spoke with Berliani, who represented that the only documents she had

 9   in her file were those that she forwarded to Cohen earlier. When pressed again whether she had the

10   RFA in her file and whether she had Plaintiff's FRCP 26 Initial Disclosures, she repeated again, that

11   the only documents she had in her file were those that she forwarded to Cohen earlier.

12                     xiv.    BERELIANI’S CLARIFICATION

13             On 9-16-2019 at 3:31pm Bereliani wrote Cohen:

14             Hi Baruch, Per our phone call last week, I am happy to prepare a declaration which
               states that my office does not have a copy of RFAs that were supposedly sent by the
15             Trustee in our files. That as of your substitution into the case I do have them since they
               were sent to me via email per my request, but not before then. That also, that we were
16             not retained for work in addition to filing an answer, attending the status conference
               or for preparing the joint status report and even had we had it, we would not have
17             been able to respond due to the breakdown of communication. Please let me know if
               youd like me to and I will prepare this for you today. [Emphasis added].16
18
     [Note: here, Bereliani admits that she was retained in addition to filing the Answer, to also
19
     include the joint status report and conference].
20
                       xv.     BERELIANI’S DECLARATION
21
               On 9-17-2019, Bereliani sent Cohen her declaration in support of this Motion. ¶¶ 4-6 of her
22
     Declaration she claims:
23

24

25
               15
              A true and correct copy of Cohen’s 9-11-2019 at 8:55pm letter to Berliani is attached hereto
26   as Exhibit “15” and is incorporated herein by this reference.
27             16
              A true and correct copy of Berliani’s 9-16-2019 at 3:31pm letter to Cohen is attached hereto
     as Exhibit “16” and is incorporated herein by this reference.
28

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 1             “I emailed the Defendant on January 2, 2019 to confirm how he wanted to proceed
               with regards to representation and the progression of the adversary proceeding. Shortly
 2             thereafter I spoke to the Defendant and was informed that the Defendant's mother
               passed away. As a result, the Defendant was not able to proceed with any activity or
 3             communication regarding the case until family matters were resolved. I advised Mr.
               Polis, attorney for the Plaintiff of this on or about January 2019. I further advised the
 4             Defendant that a joint status report must be filed, and an appearance at the joint status
               conference was required. I was then retained for the purpose of filing a Joint Status
 5             Report and an appearance at the Joint Status Conference. After this, l was not
               successful in getting in touch with the Defendant.” [Emphasis added].
 6
               The problem with this claim, is that there is no evidence in her file, that Bereliani was ever
 7
     formally retained to handle the Joint Status Report and the Status Conference.
 8
               Further, ¶ 8 of her declaration, Bereliani claims:
 9
               “At this time, on or about February 2019, I communicated with the Plaintiff that I
10             planned on withdrawing from the case due to the breakdown in communications.”

11                    xvi.    DEFENDANT’S MOTION TO ALLOW WITHDRAWAL OF DEEMED

12                            ADMISSIONS

13             On 9-25-2019, Defendant filed this Motion to Allow Withdrawal of Deemed Admissions

14   pursuant to F.R.C.P. 36(b)[Doc-31].

15             On 1-23-2020, this Court denied Defendant’s Motion without prejudice, instructed Defendant

16   to withdraw the Motion and renew it after the parties properly meet and confer and jointly sign a

17   proper Joint Stipulation. The Court scheduled the new evidentiary hearing to 3-26-2020 at 1:30pm.

18   [Doc-54] requesting that Bereliani appear in person to testify in court as to the sum and substance of

19   her declaration in support thereof.

20             On 1-23-2020, Defendant’s counsel informed Bereliani that her presence is required on 3-26-

21   2020, and she agreed to appear voluntarily, without the need for a subpoena.

22             Pursuant to LBR 7026-1(c)(2), the parties subsequently and successfully met and conferred

23   by phone and emails regarding the Joint Stipulation, and pursuant to LBR 7026-1(c)(3), the signed

24   Joint Stipulation is attached to this motion.17

25

26

27             17
              A true and correct copy of the Joint Stipulation is attached hereto as Exhibit “17” and is
     incorporated herein by this reference.
28

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 1             b.     LEGAL ARGUMENT

 2                    i.      SINCE THE PARTIES DID NOT ISSUE INITIAL DISCLOSURES

 3                            PLAINTIFF’S RFA’S WERE PREMATURE & NOT PERMITTED

 4             Admittedly, both parties did not serve each other with Initial Disclosures pursuant to F.R.C.P.

 5   26(f)(1). Under F.R.C.P. 26(d)(1), discovery is not permitted without a court order prior to a

 6   conference between the parties as required by F.R.C.P. 26(f). AF Holdings LLC v. DOES 1-96, 2011

 7   WL 4502413 (N.D. Cal. 2011); See also, F.R.C.P. 26(d)(1) (“A party may not seek discovery from

 8   any source before the parties have conferred as required by F.R.C.P. 26(f), except in a proceeding

 9   exempted from initial disclosure under F.R.C.P. 26(a)(1)(B), or when authorized by these rules, by

10   stipulation, or by court order.”) “By its express terms, Rule 26(d) bars discovery until after the parties

11   have conferred about a discovery plan as directed by Rule 26(f).” Riley v. Walgreen Co., 233 F.R.D.

12   496, 498 (S.D. Tex. 2005). “F.R.C.P. 26(d)'s proscription sweeps broadly: not only may a party not

13   ‘serve’ discovery, it may not even ‘seek’ discovery from any source until after the F.R.C.P. 26(f)

14   conference.” Id. at 499.2 A F.R.C.P. 26(f) scheduling conference has not been held, and discovery

15   is not yet open. See Xcentric Ventures, LLC v. Richeson, 2010 WL 5276950 (D. Ariz. 2010) (holding

16   that prior to a F.R.C.P. 26(f) conference, a request for discovery was propounded “before the Federal

17   Rules of Civil Procedure permitted [the plaintiff] to do so.”) Accordingly, Plaintiff’s efforts to obtain

18   discovery, formally or informally, are premature.

19                    ii.     THE DEEMED ADMISSIONS ARE PROPERLY WITHDRAWN

20             Defendant insists that he never received Plaintiff’s Request for Admissions. Nevertheless, as

21   soon as Defendant learned of the RFA’s he responded to them, and denied them substantively and

22   produced the evidence to support those denials. Under applicable law: If a matter is not admitted, the

23   answer must specifically deny it or state in detail why the answering party cannot truthfully admit or

24   deny it. A denial must fairly respond to the substance of the matter; and when good faith requires that

25   a party qualify an answer or deny only a part of a matter, the answer must specify the part admitted

26   and qualify or deny the rest. The answering party may assert lack of knowledge or information as a

27   reason for failing to admit or deny only if the party states that it has made reasonable inquiry and that

28

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 1   the information it knows or can readily obtain is insufficient to enable it to admit or deny. F.R.C.P.

 2   36(a)(4).

 3             Despite the self-executing nature of F.R.C.P. 36 with regard to the automatic admission of

 4   untimely responses, the Ninth Circuit has long recognized the district court's discretion to permit late

 5   responses to requests for admission. See, e.g., French v. United States, 416 F.2d 1149, 1152 (9th

 6   Cir. 1968) (“A trial judge has discretion to permit a late response to a request for admissions made

 7   pursuant to [F.R.C.P. 36], and thus relieve a party of apparent default.”) The language of F.R.C.P.

 8   36(a) provides a court with discretion to extend the time for responding to requests for admissions,

 9   even after the time to respond has expired. F.R.C.P. 36(a)(3) (“A shorter or longer time for

10   responding may be stipulated to under F.R.C.P. 29 or be ordered by the court.”).

11             Discretion also requires the Court to examine competing factors and interests. The Court must

12   weigh the public policy favoring the disposition of cases on their merits rather than on technical

13   violations of procedural rules, consider the scope and purpose of the F.R.C.P., and assess the

14   particular circumstances presented. Defendant asserts that if the RFAs are deemed admitted the result

15   is essentially a case-terminating sanction as the RFAs eviscerate Defendant’s case and will prevent

16   the matter from being decided on the merits. The Ninth Circuit has repeatedly held, in a variety of

17   procedural contexts, that the public policy favoring disposition of cases on their merits

18   strongly counsels against dismissal of a case or sanctions that are ultimately case-terminating. See,

19   e.g., In re Phenylpropanolamine Prods. Liab. Litig., 460 F.3d 1217, 1228 (9th Cir. 2006).

20             Further, the Rules of Civil Procedure explicitly counsel that the rules are to “be construed and

21   administered to secure the just, speedy, and inexpensive determination of every action and

22   proceeding.” F.R.C.P. 1. Here, the responses were done at the first opportunity once Defendant

23   learned of them Allowing a technical violation of this nature to drive the resolution of the matter

24   essentially deprives Defendant of a merits-based decision. Construing F.R.C.P. 36 in this manner

25   would not comport with the scope and purpose of the Rules.

26             Beyond this, even assuming that Defendant is incorrect in his assertion that the admissions are

27   case-terminating, the circumstances of this case weigh in favor relieving Defendant of his late

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 1   responses. Allowing Defendant to respond to the RFA’s can be construed as an agreement to waive

 2   the original untimeliness, which was not Defendant’s fault.

 3             When undertaking a prejudice inquiry under F.R.C.P. 36(b), district courts should focus on

 4   the prejudice that the nonmoving party would suffer at trial.” Sonoda v. Cabrera, 255 F.3d 1035,

 5   1039-40 (9th Cir. 2001, where the court granted the motion to withdraw the admissions because it was

 6   made before trial and the propounding party would not have been hindered in presenting its evidence.

 7   The Ninth Circuit has held that “reliance on a deemed admission in preparing a summary judgment

 8   motion does not constitute prejudice.” In re Conlon, 474 F.3d at 623. The Ninth Circuit likewise

 9   concluded that when deemed admissions resulted in another party choosing not to engage in other

10   discovery, it did not amount to prejudice. It specifically noted that under those circumstances, the

11   district court has the option of re-opening the discovery.

12             Courts have stressed that a deemed admission can only be withdrawn or amended by motion

13   in accordance with F.R.C.P. 36(b). In re American Auto., 930 F.2d at 1120. In order to allow

14   withdrawal of a deemed admission, F.R.C.P. 36(b) requires that a trial court find that withdrawal or

15   amendment: 1) would serve the presentation of the case on its merits, but 2) would not prejudice the

16   party that obtained the admissions in its presentation of the case. In re American Auto., 930 F.2d at

17   1119); F.R.C.P. 36(b). Even when these two factors are established, a district court still has discretion

18   to deny a request for leave to withdraw or amend an admission. United States v. Kasuboski, 834 F.2d

19   1345, 1350 n. 7 (7th Cir. 1987) (“F.R.C.P. 36(b) allows withdrawal of admissions if certain conditions

20   are met and the district court, in its discretion, permits the withdrawal.”); Donovan v. Carls Drug Co.,

21   Inc., 703 F.2d 650, 652 (2d Cir. 1983) (“Because the language of [Rule 36(b)] is permissive, the court

22   is not required to make an exception to Rule 36 even if both the merits and the prejudice issues cut

23   in favor of the party seeking exception to the rule.”).

24             Two requirements, therefore, must be met before an admission may be withdrawn: (1)

25   presentation of the merits of the action must be subserved, and (2) the party who obtained the

26   admission must not be prejudiced by the withdrawal. Both requirements are met here. Defendant has

27   presented his defenses to this lawsuit on 8-9-2019, Defendant has sent Plaintiff his response to the

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 1   RFA’s, and Plaintiff cannot possibly claim that he has been prejudiced by the withdrawal, especially

 2   in light of the fact that Plaintiff failed to prove that he first served Initial Disclosures in the case.

 3             Defendant has shown that the proposed response to admissions are contrary to the record or

 4   that circumstances relating to the deemed admissions. More importantly, Defendant had no earlier

 5   opportunity to submit his responses to Plaintiff’s discovery requests - because he never received them

 6   and because his former lawyer never sent them to him. Defendant seized the opportunity to respond

 7   to them as soon as he learned of them.

 8             Accordingly, permitting withdrawal of Defendant’s deemed admissions would promote the

 9   presentation of the merits of case, as the admissions constitute competent evidence capable of

10   defeating the Plaintiff’s claim.

11                    iii.   DEFENDANT DESERVES TO BE RELIEVED FROM THE HARSH &

12                           UNFAIR RESULT OF THE RFA’S BEING DEEMED ADMITTED

13             Defendant maintains that Bereliani’s actions amounted to gross negligence, mistake,

14   inadvertence and/or abandonment of her legal obligations and therefore, be relieved of the harsh result

15   of the RFA’s being deemed admitted. His not responding to the RFA’s was due to Bereliani.

16             C.C.P. §473 Relief from Consequences of Error by a Party provides: “The court may, upon

17   any terms as may be just, relieve a party or his or her legal representative from a judgment, dismissal,

18   order, or other proceeding taken against him or her through his or her mistake, inadvertence, surprise,

19   or excusable neglect… “

20             In Younessi v. Woolf, 244 Cal.App.4th 1137 (2016), Division Three of the Fourth Appellate

21   District reluctantly affirmed the trial court’s order vacating dismissal of a legal malpractice case.

22   Although the trial court’s stated reason for vacating the dismissal – its discretion to grant relief based

23   upon mistake, inadvertence, surprise, or excusable neglect – was not sufficiently supported, because

24   the dismissal resulted from plaintiffs’ counsel’s inexcusable conduct, plaintiffs were entitled to relief

25   under the mandatory “attorney-fault” provision of C.C.P. § 473(b).

26             F.R.C.P. 60(b)(1),as incorporated by F.R.B.P. 9024, provides for a party or their legal

27   representative to obtain relief from an adverse judgment of a federal court for “mistake, inadvertence,

28

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 1   surprise or excusable neglect.” F.R.C.P. 60(b)(6) has been used sparingly as an equitable remedy to

 2   prevent manifest injustice.” United States v. Alpine Land & Reservoir Co., 984 F.2d 1047, 1049 (9th

 3   Cir. 1993). “The rule is to be utilized only where extraordinary circumstances prevented a party from

 4   taking timely action to prevent or correct an erroneous judgment.” Relief under F.R.C.P. 60(b)(1) is

 5   appropriate: when the party has made an excusable litigation mistake or an attorney in litigation acted

 6   without authority Cacevic v. City of Hazel Park, 226 F.3d 483, 490 (6th Cir. 2000).

 7             The Supreme Court has held that the inquiry into a party’s mistake is not limited to the

 8   excusable neglect of the client, but may include the neglect of the party’s attorney. Pioneer Inv.

 9   Serv. Co. v. Brunswick Assoc. Ltd. P’ship., 507 U.S. 380 (1993). Here, Bereliani either made an

10   excusable litigation mistake by: not being aware that she received the RFA’s from Plaintiff, which

11   resulted in her not forwarding the RFA’s to Defendant, and not informing Defendant of them. It was

12   quite conceivable that pleadings get lost in the mail and that Bereliani never received them, because

13   otherwise she would have forwarded them to Defendant. Her letters to Cohen reiterated and insisted

14   that she never received the RFA’s. When she forwarded her complete file to Cohen, there were no

15   RFA’s among the 12 documents that she sent.

16             In the alternative, Defendant argues that relief is available under F.R.C.P. (60(b)(6) due to the

17   exceptional or extraordinary circumstances present in this case. Those circumstances must be

18   “unusual and extreme situations where the principles of equity mandate relief.” Olle v. Henry &

19   Wright Corp., 910 F.2d 357, 365 (6th Cir. 1990). Defendant argues that the facts here are somewhat

20   akin to those in Reno v. Int’l Harvester Co., 115 F.R.D. 6 (S.D. Ohio 1986), where the Southern

21   District of Ohio permitted F.R.C.P. 60(b)(6) relief on the basis of gross negligence and abandonment

22   by an attorney. In Reno, the court addressed the narrow issue of whether, “an abandonment, which

23   ultimately prejudices a client by causing an unopposed motion for summary judgment to be sustained,

24   may serve as grounds for a client's relief from judgment.” Id. at 7. The court in Reno found that the

25   plaintiff’s attorney did nothing for the plaintiff after the preliminary pretrial conference. The attorney

26   did not file a list of witnesses, draft a pretrial order, or respond to a summary judgment motion –

27   despite the fact that the court reminded counsel of the motion and counsel promised a response. Id.

28   at 7. The facts here are analogous.

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 1             Here, notwithstanding Bereliani’s limited scope of retention to only file an Answer, Bereliani

 2   continued representing Defendant beyond that date. She subsequently participated in filing a Joint

 3   Status Report appeared (via an appearance attorney) at the Joint Status Conference. LBR 7016-1(a)(1)

 4   Status Conference, Pretrial, and Trial Procedure provides that each party appearing at any status

 5   conference must be represented by either the attorney (or party, if not represented by counsel) who

 6   is responsible for trying the case or the attorney who is responsible for preparing the case for trial.

 7   [Emphasis added] She also confused Defendant as to the scope of her retention.

 8             When Bereliani received Plaintiff’s RFA’s (around 3-7-2019), she was still Defendant’s

 9   counsel. Defendant’s response to the RFA’s was due on 4-11-2019. Bereliani’s Motion to Withdraw

10   was filed on 3-15-2019, and ordered on 4-16-2019 [Doc-16]. During this time, she failed to forward

11   the RFA’s to Defendant, and even failed to notify him of them, in violation of the California Rule of

12   Professional Responsibility 3-700 that warns that an attorney “shall not withdraw from employment

13   until [he/she] has taken reasonable steps to avoid reasonably foreseeable prejudice to the rights of the

14   client, including giving due notice to the client [and] allowing time for employment of new counsel.

15   She also breached her own 10-25-2018 retainer agreement by not notifying Defendant of “each step

16   of the process.” She clearly did not transmit the RFA’s to Defendant (for any such transmittal was not

17   in what she produced to Cohen).

18             Defendant attests that due to a Bereliani never forwarding the RFA’s to him which is why he

19   never responded to them. Defendant should not be penalized with deemed admissions for RFA’s that

20   Bereliani never forwarded to him, that he never received and was not even aware of. Bereliani’s

21   abandonment would rise to the level required for relief under F.R.C.P. 60(b)(6).

22             This Motion boils down to one primary question: (apologies to Watergate’s Howard Baker):

23   “what did Bereliani know and when did she know it?” That primary question breaks down to various

24   sub-questions: Did Bereliani receive the RFA’s, was she aware of them, why did she not forward them

25   to Defendant, and why did she not disclose them to Cohen? All valid questions which is why the

26   Court wants her to testify. The evidence presents several possible scenarios as to Bereliani’s fault as

27   to the deemed admissions. The scenarios are:

28

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 1   POSSIBLE SCENARIOS AS TO BERELIANI’S                           FAULT AS TO THE DEEMED

 2   ADMISSIONS

 3             This Motion boils down to one primary question: (apologies to Watergate’s Howard Baker):

 4   “what did Bereliani know and when did she know it?” That primary question breaks down to various

 5   sub-questions: Did Bereliani receive the RFA’s, was she aware of them, why did she not forward them

 6   to Defendant, and why did she not disclose them to Cohen? All valid questions which is why the

 7   Court wants her to testify. The evidence presents several possible scenarios as to Bereliani’s fault as

 8   to the deemed admissions. The scenarios are:

 9                            (1)    Option # 1: The “I Never Received Them” Defense

10             Bereliani is truly innocent and never received, and was unaware of the RFA’s when they were

11   sent. This scenario would be supported by Bereliani’s letters to Cohen and her Declaration.

12             It would be rebutted by Plaintiff’s Proof of Service under penalty of perjury that they were

13   properly served on her. Is Bereliani claiming that Plaintiff’s counsel committed perjury by fabricating

14   the Proof of Service to the RFA’s?

15             Yet, this scenario may be supported by the fact that Plaintiff’s counsel was not forthcoming

16   about the RFA’s when Cohen requested them from him on 8-9-2019 until he produced them a month

17   later 9-11-2019. Why did it take Plaintiff a month to produce the simple RFA’s to Cohen? If indeed,

18   Plaintiff’s Proof of Service of the RFA’s was manufactured, then Defendant certainly cannot be held

19   responsible for not responding to them.

20             In addition, once Plaintiff knew (on 3-15-2019) that Bereliani moved to withdraw, or once the

21   Court signed off on the Order for her to withdraw (on 4-16-2019) why didn’t Plaintiff merely re-serve

22   Defendant with the RFA’s at his home in NY or by email? In ¶8 of her declaration, Bereliani claims

23   that she informed Plaintiff of her plan to withdraw as early as February 2019, and in ¶ 11 claims that

24   Plaintiff’s counsel asked her for Defendant’s contact information when she withdrew. Again, why

25   didn’t Plaintiff merely re-serve Defendant with the RFA’s at his home in NY or by email? Yet, he did

26   not.

27             In this scenario, Plaintiff would share some culpability for the RFA’s being deemed admitted.

28                            (2)    Option # 2: The “It Got Lost in the Office” Defense

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 1             Bereliani’s office received the RFA’s but somehow it got lost somewhere in her files which

 2   is why she was not aware of them. This scenario would be supported by her letters to Cohen and

 3   Declaration. This scenario would be rebutted by Plaintiff’s Proof of Service under penalty of perjury

 4   that they were served on her.

 5                            (3)     Option # 3: The “I Was Confused” Defense

 6             Bereliani actually received the RFA’s, but was confused herself about the scope of her

 7   retention and representation of Defendant was (ie., whether she had an obligation to respond to the

 8   RFA’s). Was she only retained to file the Answer and nothing more, and had no obligation to respond

 9   to the RFA’s? Or was she formally retained beyond that, in the Joint Status Report and Conference,

10   and to litigate the case to trial, and therefore, had an obligation to respond to the RFA’s?

11             This scenario is supported by her inconsistent paperwork: her limited retainer agreement (to

12   only file an Answer) and her letter to Cohen and Declaration admitting that she was also formally

13   retained for the Joint Status Report and conference.

14             However, this scenario is not satisfying, as it still does not explain why Bereliani did not

15   produce the RFA’s to Cohen when asked, and why she simply did not notify Defendant of them and

16   to forward the RFA’s to Defendant while she still was his counsel of record and had an obligation to

17   do so.

18                            (4)     Option # 4: The “Contractual Limited Retention” Defense

19             Bereliani received the RFA’s, but stood on ceremony and insisted that she was only

20   contractually retained to file an Answer and nothing more (and therefore had no obligation to respond

21   to the RFA’s).

22             This scenario is supported by her limited retainer agreement.

23             However, this spiteful scenario is rebutted by her letter to Cohen and her Declaration admitting

24   that she was also formally retained for the Joint Status Report and conference and the fact that she

25   received them before she withdrew as counsel. It is also rebutted by LBR 7016-1(a)(1)’s requirement

26   that she who appears at the status conference must be the one responsible for trying the case or the

27   attorney who is responsible for preparing the case for trial. However, this still does not explain her

28   not producing them to Cohen nor forwarding the RFA’s to Defendant while she still was his counsel

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 1   of record.

 2             And then there is the gnawing question as to why Bereliani waited 2 months (until

 3   immediately after receiving the RFA’s) before moving to withdraw? She threatened Defendant to

 4   withdraw as early as 1-15-2019 ( Exhibit “4"), she reiterated the threat to withdraw on 1-31-2019

 5   (Exhibit “5"), and then again, on 2-6-2019 (Exhibit “6"). Defendant submits and fears, that the

 6   suspicious and curious timing of Bereliani’s withdrawal (until immediately after receiving the RFA’s)

 7   was not merely serendipitous, innocent or coincidental. Rather, Defendant fears that the timing of

 8   Bereliani’s 3-15-2019 withdrawal corresponded so closely in time to when she received the RFA’s

 9   (around 3-7-2019), that it appears to have been intentional. She realized that she should have made

10   good on her threats to withdraw earlier, and now that she was served with the RFA’s, she simply did

11   not want to be burdened with responding to them, so she moved to withdraw, and to cover her tracks,

12   and intentionally omitted the RFA’s when turning over her file to Cohen.

13             Either way, whether it’s Bereliani’s confusion, breach of contract, malpractice, incompetence,

14   excusable neglect, or unethical conduct, all arrows of guilt point to her as the one at fault for

15   Defendant not responding to the RFA’s.

16                     iv.     A SIMPLE RESOLUTION TO AVOID PLAINTIFF’S PREJUDICE

17             Plaintiff’s stated prejudice in opposing the Motion was his attorneys fees. Defendant’s simple

18   solution is that Bereliani should be ordered to pay them to Plaintiff.

19             As this Court said at the last pretrial hearing on 1-17-2020,

20             THE COURT: And, you know, I’m obviously not going to request, Mr. Cohen, that
               you pay this, because you inherited this mess. But the person who is really at fault here
21             is the Defendant’s former counsel. And I’ve got to tell you. This -- the reason why I’m
               saying, when we come back here we’re going to try to resolve that dispute, I really
22             want to see that person in this courtroom face to face. On paper, I don’t believe her.
               On paper, I think she just did a horrible job. She abandoned the client when the client
23             said, I want to hire a new attorney. I just don’t believe her based on the story I’ve seen
               on paper. That’s why I want to see her in this courtroom.
24
     [Transcript, p.7, lines 16-25, p.8, lines 1-3].
25
               MR. COHEN: To what extent do you, your Honor, need my client present? My client
26             lives in New York.

27             THE COURT: Yeah. I do not. I don’t really need him here. I think -- unless there’s
               something I haven’t seen yet.
28

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 1             MR. COHEN: His declaration says he didn’t receive anything from --

 2             THE COURT: Right.

 3             MR. COHEN: -- Bereliani’s office.

 4             THE COURT: Right. That part I find credible. I think this all comes down to Ms.
               Bereliani, and whether I believe her. And, ultimately, even if she falls on the sword
 5             and says it’s all her fault, okay, there’s going to be a consequence for her, in order
               to help her former client get over this hurdle. I am a true believer that if you give
 6             litigants, attorneys, parties, my children, anybody a free pass, a mulligan, they never
               learn any lesson. My kids know this. There’s always a penance, a consequence, a cost
 7             for daddy’s forgiveness. A price has to be paid. Then they learn. It never happens
               again. If I give Ms. Bereliani, even if she comes, she cries, she falls on the sword, it’s
 8             all her fault, it’s not the client’s fault, there’s going to be a price for that, so that she
               learns to never do that again. So, good luck to both of you, and one way or another
 9             we’re going to move forward with this adversary proceeding. [Emphasis added].

10   [Transcript, p. 20, lines 24-25, p.21, lines 1-25, p. 22, lines 1-25, p.23, lines 1-13].18

11             If this Court orders Bereliani to pay Plaintiff’s attorneys fees, then Plaintiff’s prejudice would

12   be abated, and the Court would have a clear and easy path in granting this Motion. Plaintiff’s

13   objection to this simple solution would be unavailing.

14             c.      CONCLUSION

15             For all of the foregoing reasons, the Court should grant Defendant’s renewed Motion.

16

17   DATED:            February 25, 2020                LAW OFFICE OF BARUCH C. COHEN, APLC

18                                                      By     /S/ Baruch C. Cohen
                                                        Baruch C. Cohen, Esq.
19                                                      Attorney For Defendant Nicholas Silao

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               18
              A true and correct copy of the 1-17-2020 Pretrial Transcript is attached hereto as Exhibit
28   “18” and is incorporated herein by this reference.

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 1                               DECLARATION OF BARUCH C. COHEN

 2             I, BARUCH C. COHEN, declare as follows:

 3   2.        The facts stated below are true and correct within the best of my personal knowledge and if

 4             called upon to testify to them I could and would competently do so.

 5   3.        I am a member in good standing and eligible to practice before the following court(s):

 6             California State Supreme Court; US Court of Appeals - Ninth Circuit; Bankruptcy Appellate

 7             Panel; United States District Courts: Central District of CA; Eastern District of CA; Northern

 8             District of CA; & Southern District of CA.

 9   4.        I am the principal shareholder and President of The Law Office of Baruch C. Cohen. A

10             Professional Law Corporation, located at 4929 Wilshire Boulevard, Suite 940, Los Angeles,

11             California 90010. I proudly represent Defendant Nicholas Silao.

12   5.        This declaration is in support of DEFENDANT’S RENEWED MOTION TO ALLOW

13             WITHDRAWAL OF DEEMED ADMISSIONS F.R.C.P. 36(B).

14   6.        On 11-8-2017, the Debtor Pandora Hospice Care, Inc., commenced this bankruptcy

15             proceeding Case No. 6:17-bk-19336-SY.

16   7.        On 10-2-2018, Plaintiff filed this adversary action entitled: Karl T. Anderson against

17             Nicholas Silao, Adversary case 6:18-ap-01193, entitled Chapter 7 Trustee’s Complaint for

18             Turnover of Property of the Bankruptcy Estate by an Entity That Owes a Debt to the Estate

19             under Chapter 7 Trustee’s Complaint for Turnover of Property of the Bankruptcy Estate by

20             an Entity That Owes a Debt to the Estate under Section 542(b) of the Bankruptcy Code [Doc-

21             1]. ¶7 of the Complaint alleged that the Debtor (Pandora) loaned/transferred $137,000 to

22             Nicholas Silao, allegedly based on the Debtor’s federal income tax returns signed under

23             penalty of perjury reflected the outstanding loan owed to the Debtor’s bankruptcy estate.

24   8.        On 10-25-2018, Sanaz S. Bereliani (“Bereliani”) executed an (“initial”) Attorney Client Fee

25             Contract with Defendant Nicholas Silao to (“only”) file an Answer to the Complaint to

26             prevent a default and charged him $850.00. Bereliani retainer agreement provided that she

27

28

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 1             would notify Defendant of “each step of the process.”19

 2   9.        On 10-31-2018, Bereliani, pursuant to her Attorney Client Fee Contract with Defendant filed

 3             an Answer to the Complaint [Doc-4]. In Defendant’s 10-31-2018 Answer, Bereliani asserted

 4             a 2nd Affirmative Defense that Plaintiff has insufficient evidence to establish their case, and

 5             a 4th Affirmative Defense that even if the Plaintiff had a legitimate claim against the

 6             Defendant, that claim is excepted from turnover to the extent that such debt may be offset

 7             under 11 U.S.C. § 553.

 8   10.       On 1-2-2019, notwithstanding her limited scope of retention to only file an Answer, Bereliani

 9             subsequently participated in filing a Joint Status Report [Doc-5]20 and in the Joint Status

10             Conference via an appearance attorney.21 Of particular interest, in Section # 5 Bereliani

11             represented that given the holidays, the parties have not had a chance to meet and confer, but

12             will definitely do so before the Status Hearing of 1-17-2019.

13             a.     In Section # B1 (Readiness for Trial), Bereliani represented that she would be ready

14                    for trial in July 2019.

15             b.     In Section Question # B2 (Readiness for Trial), Bereliani represented that her reason

16                    for being ready for trial in July 2019 was because she intended to propound discovery

17                    and attend mediation.

18             c.     In Section # B3 (Readiness for Trial), Bereliani represented that she expects to

19                    complete her discovery by May 2019.

20             d.     In Section # C1 (Trial Time), Bereliani represented that her estimate of trial would be

21                    1 court day.

22             e.     In Section # D (PreTrial Conference), Bereliani represented that Defendant requested

23

24             19
             A true and correct copy of Bereliani’s 10-25-2018 Attorney Client Fee Contract with
     Defendant is attached hereto as Exhibit “1” and is incorporated herein by this reference.
25
               20
26            A true and correct copy of the 1-2-2019 Joint Status Report [Doc-5] is attached hereto as
     Exhibit “2” and is incorporated herein by this reference.
27
               21
              A true and correct copy of the Transcript of the Status Conference is attached hereto as
28   Exhibit “3” and is incorporated herein by this reference.

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 1                    a pretrial conference after 5-31-2019.

 2             f.     In Section # E (Settlement), Bereliani represented that Defendant requested that this

 3                    case be mediated.

 4             g.     In Section # F (Final Judgment Order), Bereliani represented that Defendant consented

 5                    to this Court’s jurisdiction.

 6   11.       Pursuant to the Status Conference and Scheduling Order Pursuant to LBR 7016-1(a)(4) [Doc-

 7             10], the discovery cutoff was 6-28-2019, the pre-trial stipulation was due 8-1-2019, the

 8             pretrial hearing was 8-15-2019, and the mediation completion date was 7-31-2019.

 9   12.       On 1-15-2019 at 4:45pm, Bereliani wrote Defendant:

10             I mentioned to Nick that the Status Conference Scheduled with Judge Yun for
               Thursday at 9:30am in Riverside is a Mandatory hearing that cannot be continued. Its
11             like a scheduling hearing, we'll be setting deadlines for all three of your cases
               -discovery, etc. That being said, either you or someone from my office needs to be
12             there to represent you. I can have Mike Smith appear on your behalf and set the
               hearing dates going forward, scheduling them out as far as possible to buy you some
13             time. However, please note that the retainer you initially signed with my office
               retained me only for preparing and filing the Answers to the Complaints. I have not
14             been retained further. [Emphasis added].22

15   13.       On 1-31-2019 at 2:09pm, Bereliani reported to Defendant (and his brothers) about her

16             appearance at the Status Conference and future deadlines.

17   14.       On 2-6-2019 at 11:22am, Bereliani wrote Defendant (and his brothers):

18             “...At this point, please note that our office is not retained to represent you in your
               cases as our retainer was of a “limited scope” and we have been unsuccessful in
19             scheduling a call to discuss further representation and action on your behalf. If I do
               not hear from you by Thursday evening as to a conference call time for all of us to
20             speak together ASAP then I will be preparing a Substitution of Attorney for you to
               sign to advise the court that the limited scope retainer has expired. This will not
21             affect your case with the Trustee but just Update the Status of your representation.”
               [Emphasis added]23
22
     15.       On 2-11-2019 at 1:44pm, Bereliani wrote Defendant:
23
               “...However, be mindful that this case is still pending and you do need to either be
24             in contact with the Trustee or to retain new counsel to proceed on your behalf if you

25
               22
26             A true and correct copy of Bereliani’s 1-15-2019 at 4:45pm letter to Defendant is attached
     hereto as Exhibit “4” and is incorporated herein by this reference.
27
               23
               A true and correct copy of Bereliani’s 2-6-2019 at 11:22am letter to Defendant is attached
28   hereto as Exhibit “5” and is incorporated herein by this reference.

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 1             wish to proceed. Unfortunately, with the lack of communication or further
               representation agreement, I am not able to proceed on your behalf.” [Emphasis
 2
               added]24
 3
     16.       Both parties did not serve each other with Initial Disclosures pursuant to F.R.C.P. 26(f)(1).
 4
     17.       On 3-7-2019, Plaintiff’s counsel propounded Requests for Admission [Set One] (“RFA’s”) to
 5
               Defendant, and per the Proof of Service signed under penalty of perjury, Plaintiff mailed it to
 6
               Bereliani at her office at the Bereliani Law Firm, 11400 W Olympic Blvd Ste 200, Los
 7
               Angeles, CA 90064.25 The RFA’s in question were:
 8
               a.     RFA # 4. The Debtor loaned/transferred $137,000 to Defendant, Nicholas Silao. The
 9
                      Debtor’s 2016 Federal Income Tax Returns signed under penalty of perjury reflected
10
                      the outstanding loan owed by Defendant, Nicholas Silao to the Corporate Debtor.
11
               b.     RFA # 5. Pursuant to the Debtor’s 2016 Federal Income Tax Returns, Defendant,
12
                      Nicholas Silao owes the Plaintiff/Chapter 7 Trustee no less than $137,000, plus any
13
                      and all costs of collection.
14
               c.     RFA # 6. Plaintiff/Chapter 7 Trustee is entitled to pre-judgment interest as provided
15
                      under applicable non-bankruptcy law.
16
               d.     RFA # 7. Defendant, Nicholas Silao has no defenses and/or counterclaims to
17
                      Plaintiff/Chapter 7 Trustee’s demand for $137,000.
18
               e.     RFA # 8. Defendant, Nicholas Silao has no facts that dispute Plaintiff/Chapter 7
19
                      Trustee’s entitlement to $137,000 demanded in the Trustee’s Complaint.
20
               f.     RFA # 9. Defendant, Nicholas Silao has no documents, notes or other writings that
21
                      disputes the Trustee’s entitlement to $137,000 demanded in the Trustee’s Complaint.
22
               g.     RFA # 10. Defendant, Nicholas Silao has no witnesses that dispute the Trustee’s
23
                      entitlement to $137,000 demanded in the Trustee’s Complaint.
24

25
               24
26             A true and correct copy of Bereliani’s 2-11-2019 at 1:44pm letter to Defendant is attached
     hereto as Exhibit “6” and is incorporated herein by this reference.
27
               25
               A true and correct copy of Plaintiff’s 3-7-2019 Requests for Admission [Set One] is attached
28   hereto as Exhibit “7” and is incorporated herein by this reference.

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 1   18.       Pursuant to F.R.C.P. 36(a)(3) and F.R.C.P. 6(d), Defendant had 35 days from 3-7-2019 to

 2             serve Plaintiff with a written response to the RFA’s or by 4-11-2019.

 3   19.       Defendant did not respond to Plaintiff’s RFA’s, because Bereliani never forwarded the RFA’s

 4             to him, he never received them, and was not even aware of them. Consequently, the matters

 5             set forth in Plaintiff’s RFA’s were automatically admitted by operation of law (F.R.C.P. 36).

 6   20.       (Presumably, 1-week after she received Plaintiff’s RFA) on 3-15-2019, Bereliani formally

 7             moved to withdraw as counsel of record [Doc-12], and on 4-16-2019, the Court entered its

 8             Order Granting Motion To Withdraw As Counsel Of Record [Doc-16].

 9   21.       On 8-8-2019, Plaintiff filed his Unilateral Pre-Trial Stipulation and Declaration [Doc-23]

10             reporting that Defendant did not respond to Plaintiff’s RFA’s, and were deemed admitted.26

11             Both documents did not attach a copy of the RFA’s, and Plaintiff did not list the RFA’s as an

12             exhibit to be used at trial.

13   22.       On 7-5-2019, the Court entered an Order Rescheduling the pretrial conference to 8-22-2019

14             [Doc-21].

15   23.       On 8-9-2019, Defendant formally retained me as litigation counsel to defend him in this

16             action, who then filed the Substitution of Attorney [Doc-25] on 8-12-2019. But before being

17             formally retained, I specifically inquired of Defendant whether he received any discovery

18             from Plaintiff in this adversary. Defendant responded that he did not. On that basis, I took the

19             case, and was contemplating filing a declaration pursuant to LBR 7016-1(E)(2). I then

20             checked PACER and discovered Plaintiff’s Unilateral Pre Trial and Declaration filings of 8-8-

21             2019, and was surprised, to see that Defendant did not respond to Plaintiff’s RFA’s, and were

22             deemed admitted. I needed to see the RFA’s (that were omitted from Plaintiff’s 8-8-2019,

23             Unilateral Pre-Trial Stipulation and Declaration, and instructed Defendant to request his entire

24             file from Bereliani.

25   24.       On 8-7-2019 at 10:42am, Defendant wrote Berliani (copying me) and demanded his file from

26

27
               26
              A true and correct copy of Plaintiff’s 8-8-2019 Unilateral Pre-Trial Stipulation [Doc-23] is
28   attached hereto as Exhibit “8” and is incorporated herein by this reference.

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 1             her pursuant to the California Rule of Professional Responsibility 4-100(B)4, that provides

 2             that an attorney must promptly pay or deliver, as requested by the client, any funds, securities,

 3             or other properties in the possession of the member which the client is entitled to receive.

 4   25.       On 8-7-2019, at 2:17pm, Berliani wrote back:

 5             “Not much - Nick went MIA on us shortly after the beginning and we just bought him
               time with the Tee's attorney... “ [Emphasis added]27
 6
     26.       On her 8-7-2019 email, Bereliani sent the following 12 documents to me: (1) The Complaint;
 7
               (2) the Retainer Agreement; (3) A Waiver of Conflict of Interest for a Joint Representation
 8
               signed by Nick Silao; (4) A Waiver of Conflict of Interest for a Joint Representation signed
 9
               by Ray Silao; (5) A Paypal receipt of Nick''s payment to you; (6) the Answer to the
10
               Complaint; (7) Another copy of the Answer to the Complaint; (8) the filed JSR; (9) the filed
11
               Scheduling Order; (10) a blank form Substitution of Attorney; (11) the Order Granting your
12
               Motion to Withdraw; & (12) the LOU receipt of her Order Granting her Motion to Withdraw.
13
               [Note: Berliani did not acknowledge in her file, and did not produce to Cohen, Plaintiff’s
14
               RFA’s, notwithstanding Plaintiff’s 3-7-2019 Proof of Service to her while she was still
15
               Defendant’s counsel (Bereliani moved to withdraw as counsel of record on 3-15-2019)
16
               [Doc-12]).
17
     27.       On 8-8-2019, at 6:53am, I wrote Berliani: “....Was any discovery done in this adversary? If
18
               so, please send them.” On 8-8-20189 at 8:16am, Berliani responded:
19
               “Per my previous email, there was no communication by your client so no nothing
20             further was done. They retained me on a limited scope and were not in touch after
               with further instruction or guidance. I recommend calling Trustees counsel regarding
21             case status, I’m surprised they haven’t filed anything else yet. Nick got lucky.”
               [Emphasis added]28
22
     28.       On 8-9-2019 at 6:34am, I wrote Berliani informing her that Plaintiff's Unilateral Pretrial stated
23
               that he indeed propounded RFA's to the Defendant that were now deemed admitted. I asked
24

25
               27
26            A true and correct copy of Berliani’s 8-7-2019 at 2:17pm letter to Cohen is attached hereto
     as Exhibit “9” and is incorporated herein by this reference.
27
               28
             A true and correct copy of Berliani’s 8-8-2019 at 8:16am letter to Cohen is attached hereto
28   as Exhibit “10” and is incorporated herein by this reference.

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 1             Berliani why wasn't I given copies of this discovery?” On 8-9-2019 at 12:17pm, Berliani

 2             responded:

 3             “Ps I'll speak to my office regarding receipts of anything on their end but please note
               we were retained specifically for an answer and joint status report and conference.
 4             We had no further involvement or guidance. Lastly, I appreciate your
               professionalism going forward.”29
 5
     29.       On Friday 8-9-2019 at 11:22am, I wrote Plaintiff’s counsel to meet & confer regarding
 6
               Plaintiff’s Unilateral Pre Trial [Doc-23] and Declaration [Doc-24] in advance of the
 7
               upcoming Pre Trial hearing of 8-22-2019. I further stated that Defendant has evidence to
 8
               dispute Plaintiff’s turnover claim for $137,000.00, that he has witnesses and exhibits re same.
 9
               I produced these documents to counsel sight unseen, without the Plaintiff having to formally
10
               demand them from Defendants to substantiate Defendant’s claim that he has exhibits to
11
               support his defense. (See email chain below). Specifically, I asked Plaintiff’s counsel: (1) to
12
               see Plaintiff’s F.R.C.P. 26 Initial Disclosures; (2) to See Plaintiff’s Discovery; (3) to show
13
               Plaintiff that Defendant has evidence to dispute Plaintiff’s turnover claim for $137,000.00; &
14
               (4) to seek clarification regarding Plaintiff’s efforts to meet & confer with Defendant
15
               regarding the Joint Pre-Trial Report. I presented to Plaintiff:
16
               a.     Pandora’s loan report to the Silao brothers reflecting that during the period of 12-16-
17
                      2013 - 5-20-2015, Defendant lent Pandora approximately $442,000.00 (and that his
18
                      brothers Michael Silao lent Pandora $70,000.00, Sam Silao lent Pandora $6,000.00,
19
                      & Ray Silao lent Pandora $143,911.37, totaling $662,411.37).
20
               b.     The last page of Pandora’s 2014 tax return (FYE 12-31-2014) Form 1120, Page 5,
21
                      Schedule L, Line 19, entitled: “Loans from Shareholders” showing that my client was
22
                      owed $389,750.00 by Pandora for that year (“Loan Payable N Silao”);
23
               c.     The last page of Pandora’s 2015 tax return (FYE 12-31-2015) Form 1120, Page 5,
24
                      Schedule L, Line 19, entitled: “Loans from Shareholders” showing that my client was
25
                      owed between $389,750.00 - $297,250.00 by Pandora for that year (“Loan Payable
26

27
               29
               A true and correct copy of Berliani’s 8-8-2019 at at 12:17pm letter to Cohen is attached
28   hereto as Exhibit “11” and is incorporated herein by this reference.

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 1                    N Silao”);

 2             d.     Pandora’s Balance Sheet as of 12-31-2015, under the section entitled: “Liabilities &

 3                    Equity” reflecting “Loan/Financing Payable N. Silao $297,250.00;

 4             e.     The last page of Pandora’s 2016 tax return (FYE 12-31-2016) Form 1120, Page 5,

 5                    Schedule L, Line 19, entitled: “Loans from Shareholders” showing that my client was

 6                    owed between $297,250.00 - $295,250.00 by Pandora for that year (“Loan Payable N

 7                    Silao”);

 8             f.     Pandora’s (9) checks to my client that contain the notation: “Reimbursement - Loan:”

 9                    i.      Pandora’s 7-31-2015 check # 9001 to Defendant for $25,000.00;

10                    ii.     Pandora’s 9-4-2015 check # 9002 to Defendant for $25,000.00 contains the

11                            notation: “Loan Repayment;”

12                    iii.    Pandora’s 9-15-2015 check # 1112 to Defendant for $2,500.00 contains the

13                            notation: “Reimbursement - Loan;”

14                    iv.     Pandora’s 10-9-2015 check # 9003 to Defendant for $25,000.00 contains the

15                            notation: “Loan Repayment;”

16                    v.      Pandora’s 10-15-2015 check # 1130 to Defendant for $2,500.00 contains the

17                            notation: “Reimbursement;”

18                    vi.     Pandora’s 11-1-2015 check # 1131 to Defendant for $2,500.00 contains the

19                            notation: “Reimbursement;”

20                    vii.    Pandora’s 11-2-2015 check # 0005 to Defendant for $25,000.00 contains the

21                            notation: “Loan Repayment;”

22                    viii.   Pandora’s 12-1-2015 check # 1132 to Defendant for $2,500.00 contains the

23                            notation: “Reimbursement;”

24                    ix.     Pandora’s 12-2-2015 check # 8655 to Defendant for $25,000.00 contains the

25                            notation: “Loan Repayment.”

26   30.       I disclosed Defendant’s witnesses to counsel: Defendant; the other Silao brothers; Pandora’s

27             CPA Rufino Reyes Magpayo.

28   31.       On Sunday 8-11-2019, Plaintiff’s counsel emailed me stating:

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 1             “Thanks for your email. Please know I will not litigate this matter via email, thus if
               you believe your client is entitled to relief from the Court, please file a properly
 2             noticed motion pursuant to the Local Bankruptcy Rules. Consequently, at this point
               we are proceeding in the ordinary course pursuant to the Court’s presently set
 3             scheduling order. Finally, if you intend to proceed with any type of judicial relief,
               please note I’ll be traveling to and from Shanghai China for my son’s college freshman
 4             activities between the afternoon of August 22 and returning to the OC on or about
               August 29, 2019, thus we will object to any relief that requires my office to take action
 5             during that time period. Thank you.”30

 6   32.       On 9-4-2019, I wrote Plaintiff again.

 7             “I am writing you to meet & confer regarding: (1) the proposed Joint Pre Trial
               Stipulation; (2) the proposed Motion in Limine, & (3) the proposed Motion to
 8             Withdraw the Deemed Admissions pursuant to F.R.C.P. 36(b). As I wrote you on
               8-9-2019, I’m running blind here, because I do not have: (1) Plaintiff’s F.R.C.P. 26
 9             Initial Disclosures; & (2) Plaintiff’s written discovery including Plaintiff’s Request for
               Admissions (“RFA's”). Both Ms. Bereliani and my client informed me that they do not
10             have copies of them. Accordingly, please provide them to me. If I do not receive them
               from you, I will have no choice but to file the proposed motions. As I indicated in
11             Defendant’s 8-12-2019 Unilateral Pre-Trial Report [Doc-28], Defendant intends to file
               a Motion in Limine to exclude Plaintiff’s evidence at trial, based on Plaintiff’s failures
12             to comply with FRCP 26. Your cooperation in providing me with the requested
               documents will impact greatly on whether I will file the Motion in Limine or not. I
13             also indicated that Defendant intends to file a Motion to Withdraw the Deemed
               Admissions pursuant to F.R.C.P. 36(b), based on my client’s representation that he
14             never received Plaintiff’s (alleged) Request for Admissions. Please advise if Plaintiff
               will stipulate to withdraw the deemed admissions and I will gladly prepare the
15             stipulation and order. To expedite the process, enclosed please find Defendant’s
               Verified Response to Request for Admissions that is based on Plaintiff’s Unilateral
16             PreTrial Report that identified the six (6) Requests for Admission.

17   and served Plaintiff’s Counsel with Defendant’s Verified Response to Request for Admissions

18   (denying the above-referenced RFA’s).31

19   33.       On 9-11-2019, Plaintiff responded:

20             “Baruch, I never received a response from you last week regarding the Meet and
               Confer issues noted in your 9/4/11 faxed letter. I had proposed a “Meet and Confer”
21             telephone call for Friday September 6, 2019 but never heard back from you. Secondly,

22
               30
23             A true and correct copy of counsel’s email chain of 8-11-2019 (including Cohen’s 8-9-2019
     meet & confer letters (without exhibits) attached hereto as Exhibit “12” and is incorporated herein
24   by this reference.
25             31
               A true and correct copy of Cohen’s 9-4-2019 Meet & Confer letter Re: Proposed Joint Pre
     Trial Stipulation; Proposed Motion in Limine, & Proposed Motion to Withdraw the Deemed
26
     Admissions pursuant to F.R.C.P. 36(b) and Defendant’s Verified Response to Request for Admissions
27   that is based on Plaintiff’s Unilateral PreTrial Report that identified the six (6) Requests for
     Admission, that includes Defendant’s Verified Response to Request for Admissions is attached hereto
28   as Exhibit “13” and is incorporated herein by this reference.

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 1             I don't understand the legal effect if any of the verified responses included with your
               9/4/19 fax. Rather, I've enclosed the RFAs that were properly served on your client's
 2             former counsel at her address of record in the above-captioned Adversary
               proceeding. Thus pursuant to F.R.C.P. 36 (made applicable to this Adversary
 3             Proceeding per Rule 7036 of the Fed Rules of Bankr Procedure) the unresponded to
               RFAs are still, enforceable and we intend to use them until there's a court order to the
 4             contrary. Any questions or comments, please let me know. thanks.” Plaintiff attached
               a copy of an RFA. [Emphasis added]
 5
     34.       On 9-11-2019, I responded:
 6
               “Tom: I do not recall you proposing, and me accepting, a proposed meet & confer with
 7             me on 9-6-2019. But I'm happy to do so immediately. I also want to state
               emphatically, that Berliani did not share your RFA with me, and that Nick Silao
 8             swears over a stack of bibles that he never received them. Finally, I need to see your
               Initial Disclosures. As I’m sure you know, F.R.C.P. 26(d)(1) prohibits discovery
 9             before the parties have met & conferred as required by F.R.C.P. 26(f). If you did not
               do a F.R.C.P. 26 Initial Disclosure, the RFA's would be improper. If you did do a
10             F.R.C.P. 26 Initial Disclosure, please provide it to me. I've now asked you for this
               twice.”32
11
     35.       On 9-11-2019 at 8:55pm, I returned to Berliani informing her that Plaintiff sent me an RFA
12
               that purports to have been served on her office on 3-7-2019 at her address On 3-15-2019, she
13
               moved to withdraw as counsel to Defendant. So she must have had the 3-7-2019 RFA's in her
14
               file before she moved to withdraw on 3-15-2019. Yet, she did not produce it to Defendant or
15
               to me in violation of Rule 4-100(b)(4). I was very concerned that she had this RFA in her file
16
               and did not produce it when Defendant demanded it. So I asked her again: “Did Plaintiff send
17
               you Plaintiff's FRCP 26 Initial Disclosures? If so, please send it. Was any discovery done in
18
               this adversary? If so, please send them.” I was very concerned that now the RFA's are deemed
19
               admitted, and Defendant will now have to spend money to file a Motion to have the Deemed
20
               Admissions Withdrawn, which he should not have to do, had she forwarded to him the RFA's
21
               when you received it on 3-7-2019.33
22
     36.       On 9-12-2019, I spoke with Berliani, who represented that the only documents she had in her
23
               file were those that she forwarded to Cohen earlier. When pressed again whether she had the
24

25
               32
26             A true and correct copy of counsel’s 9-11-2019 email exchange is attached hereto as
     Exhibit “14” and is incorporated herein by this reference.
27
               33
              A true and correct copy of Cohen’s 9-11-2019 at 8:55pm letter to Berliani is attached hereto
28   as Exhibit “15” and is incorporated herein by this reference.

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 1             RFA in her file and whether she had Plaintiff's FRCP 26 Initial Disclosures, she repeated

 2             again, that the only documents she had in her file were those that she forwarded to me earlier.

 3   37.       On 9-16-2019 at 3:31pm Bereliani wrote me:

 4             Hi Baruch, Per our phone call last week, I am happy to prepare a declaration which
               states that my office does not have a copy of RFAs that were supposedly sent by the
 5             Trustee in our files. That as of your substitution into the case I do have them since they
               were sent to me via email per my request, but not before then. That also, that we were
 6             not retained for work in addition to filing an answer, attending the status conference
               or for preparing the joint status report and even had we had it, we would not have
 7             been able to respond due to the breakdown of communication. Please let me know if
               youd like me to and I will prepare this for you today. [Emphasis added].34
 8
     38.       On 9-25-2019, Defendant filed this Motion to Allow Withdrawal of Deemed Admissions
 9
               pursuant to F.R.C.P. 36(b)[Doc-31].
10
     39.       On 1-23-2020, this Court denied Defendant’s Motion without prejudice, instructed Defendant
11
               to withdraw the Motion and renew it after the parties properly meet and confer and jointly sign
12
               a proper Joint Stipulation. The Court scheduled the new evidentiary hearing to 3-26-2020 at
13
               1:30pm. [Doc-54] requesting that Bereliani appear in person to testify in court as to the sum
14
               and substance of her declaration in support thereof.
15
     40.       On 1-23-2020, I informed Bereliani that her presence is required on 3-26-2020, and she agreed
16
               to appear voluntarily, without the need for a subpoena.
17
     41.       Pursuant to LBR 7026-1(c)(2), the parties subsequently and successfully met and conferred
18
               by phone and emails regarding the Joint Stipulation, and pursuant to LBR 7026-1(c)(3), the
19
               signed Joint Stipulation is attached to this motion.35
20
     42.       A true and correct copy of the Pretrial Transcript is attached hereto as Exhibit “18" and is
21
               incorporated herein by this reference.
22

23

24

25
               34
26            A true and correct copy of Berliani’s 9-16-2019 at 3:31pm letter to Cohen is attached hereto
     as Exhibit “16” and is incorporated herein by this reference.
27
               35
              A true and correct copy of the Joint Stipulation is attached hereto as Exhibit “17” and is
28   incorporated herein by this reference.

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 1             I declare under penalty of perjury under the laws of the United States and the State of

 2   California that the foregoing is true and correct.

 3   DATED: February 25, 2020

 4   By    /S/ Baruch C. Cohen
     Baruch C. Cohen, Esq.
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 1                                  DECLARATION OF NICHOLAS SILAO

 2             I, NICHOLAS SILAO, declare as follows:

 3   1.        The facts stated below are true and correct within the best of my personal knowledge and if

 4             called upon to testify to them I could and would competently do so.

 5   2.        I am the defendant in this case.

 6   3.        This declaration is in support of DEFENDANT’S RENEWED MOTION TO ALLOW

 7             WITHDRAWAL OF DEEMED ADMISSIONS F.R.C.P. 36(B).

 8   4.        On 11-8-2017, the Debtor Pandora Hospice Care, Inc., commenced this bankruptcy

 9             proceeding Case No. 6:17-bk-19336-SY.

10   5.        On 10-2-2018, Plaintiff filed this adversary action entitled: Karl T. Anderson against

11             Nicholas Silao, Adversary case 6:18-ap-01193, entitled Chapter 7 Trustee’s Complaint for

12             Turnover of Property of the Bankruptcy Estate by an Entity That Owes a Debt to the Estate

13             under Chapter 7 Trustee’s Complaint for Turnover of Property of the Bankruptcy Estate by

14             an Entity That Owes a Debt to the Estate under Section 542(b) of the Bankruptcy Code [Doc-

15             1]. I am the named defendant herein (“Defendant”). ¶7 of the Complaint alleged that the

16             Debtor (Pandora) loaned/transferred $137,000 to Nicholas Silao, allegedly based on the

17             Debtor’s federal income tax returns signed under penalty of perjury reflected the outstanding

18             loan owed to the Debtor’s bankruptcy estate.

19   6.        On 10-25-2018, Sanaz S. Bereliani (“Bereliani”) executed an (“initial”) Attorney Client Fee

20             Contract with me to (“only”) file an Answer to the Complaint to prevent a default and charged

21             him $850.00. Bereliani retainer agreement provided that she would notify me of “each step

22             of the process.”36

23   7.        On 10-31-2018, Bereliani, pursuant to her Attorney Client Fee Contract with Defendant filed

24             an Answer to the Complaint [Doc-4].

25   8.        In Defendant’s 10-31-2018 Answer, Bereliani asserted a 2nd Affirmative Defense that Plaintiff

26

27
               36
             A true and correct copy of Bereliani’s 10-25-2018 Attorney Client Fee Contract with
28   Defendant is attached hereto as Exhibit “1” and is incorporated herein by this reference.

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 1             has insufficient evidence to establish their case, and a 4th Affirmative Defense that even if the

 2             Plaintiff had a legitimate claim against the Defendant, that claim is excepted from turnover

 3             to the extent that such debt may be offset under 11 U.S.C. § 553.

 4   9.        On 1-2-2019, notwithstanding her limited scope of retention to only file an Answer, Bereliani

 5             subsequently participated in filing a Joint Status Report [Doc-5]37 and in the Joint Status

 6             Conference via an appearance attorney.38 Bereliani did not consult with me before making any

 7             of the representations in the Status Report.

 8             a.     In Section # B1 (Readiness for Trial), Bereliani represented that she would be ready

 9                    for trial in July 2019.

10             b.     In Section Question # B2 (Readiness for Trial), Bereliani represented that her reason

11                    for being ready for trial in July 2019 was because she intended to propound discovery

12                    and attend mediation.

13             c.     In Section # B3 (Readiness for Trial), Bereliani represented that she expects to

14                    complete her discovery by May 2019.

15             d.     In Section # C1 (Trial Time), Bereliani represented that her estimate of trial would be

16                    1 court day.

17             e.     In Section # D (PreTrial Conference), Bereliani represented that Defendant requested

18                    a pretrial conference after 5-31-2019.

19             f.     In Section # E (Settlement), Bereliani represented that Defendant requested that this

20                    case be mediated.

21             g.     In Section # F (Final Judgment Order), Bereliani represented that Defendant consented

22                    to this Court’s jurisdiction.

23   10.       So while Bereliani’s retainer was limited to only filing an Answer, it appears that Bereliani

24             continued representing me past the filing of the Answer, into the Status Conference stage, and

25
               37
26            A true and correct copy of the 1-2-2019 Joint Status Report [Doc-5] is attached hereto as
     Exhibit “2” and is incorporated herein by this reference.
27
               38
              A true and correct copy of the Transcript of the Status Conference is attached hereto as
28   Exhibit “3” and is incorporated herein by this reference.

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 1             I was confused as to her representation of me.

 2   11.       On 1-15-2019 at 4:45pm, Bereliani wrote me:

 3             I mentioned to Nick that the Status Conference Scheduled with Judge Yun for
               Thursday at 9:30am in Riverside is a Mandatory hearing that cannot be continued. Its
 4             like a scheduling hearing, we'll be setting deadlines for all three of your cases
               -discovery, etc. That being said, either you or someone from my office needs to be
 5             there to represent you. I can have Mike Smith appear on your behalf and set the
               hearing dates going forward, scheduling them out as far as possible to buy you some
 6             time. However, please note that the retainer you initially signed with my office
               retained me only for preparing and filing the Answers to the Complaints. I have not
 7             been retained further. [Emphasis added].39

 8   12.       On 1-31-2019 at 2:09pm, Bereliani reported to me and my brothers about her appearance at

 9             the Status Conference and future deadlines.

10   13.       On 2-6-2019 at 11:22am, Bereliani wrote me (and my brothers):

11             “...At this point, please note that our office is not retained to represent you in your
               cases as our retainer was of a “limited scope” and we have been unsuccessful in
12             scheduling a call to discuss further representation and action on your behalf. If I do
               not hear from you by Thursday evening as to a conference call time for all of us to
13             speak together ASAP then I will be preparing a Substitution of Attorney for you to
               sign to advise the court that the limited scope retainer has expired. This will not
14             affect your case with the Trustee but just Update the Status of your representation.”
               [Emphasis added]40
15
     14.       On 2-11-2019 at 1:44pm, Bereliani wrote me:
16
               “...However, be mindful that this case is still pending and you do need to either be
17             in contact with the Trustee or to retain new counsel to proceed on your behalf if you
               wish to proceed. Unfortunately, with the lack of communication or further
18             representation agreement, I am not able to proceed on your behalf.” [Emphasis

19             added]41

20   15.       On 3-7-2019, Plaintiff’s counsel apparently propounded Requests for Admission [Set One]

21             (“RFA’s”) to Bereliani, and per the Proof of Service signed under penalty of perjury, Plaintiff

22             mailed it to Bereliani at her office at the Bereliani Law Firm, 11400 W Olympic Blvd Ste 200,

23

24             39
               A true and correct copy of Bereliani’s 1-15-2019 at 4:45pm letter to Defendant is attached
     hereto as Exhibit “4" and is incorporated herein by this reference.
25
               40
26             A true and correct copy of Bereliani’s 2-6-2019 at 11:22am letter to Defendant is attached
     hereto as Exhibit “5” and is incorporated herein by this reference.
27
               41
               A true and correct copy of Bereliani’s 2-11-2019 at 1:44pm letter to Defendant is attached
28   hereto as Exhibit “6” and is incorporated herein by this reference.

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 1             Los Angeles, CA 90064.42

 2   16.       I did not respond to Plaintiff’s RFA’s, because Bereliani never forwarded the RFA’s to

 3             me, I never received them, and was not even aware of them.

 4   17.       (Presumably, 1-week after she received Plaintiff’s RFA) on 3-15-2019, Bereliani formally

 5             moved to withdraw as counsel of record [Doc-12], and on 4-16-2019, the Court entered its

 6             Order Granting Motion To Withdraw As Counsel Of Record [Doc-16].

 7   18.       On 8-8-2019, Plaintiff filed his Unilateral Pre-Trial Stipulation and Declaration [Doc-23]

 8             reporting that I did not respond to Plaintiff’s RFA’s, and were deemed admitted.43 Both

 9             documents did not attach a copy of the RFA’s, and Plaintiff did not list the RFA’s as an

10             exhibit to be used at trial.

11   19.       On 7-5-2019, the Court entered an Order Rescheduling the pretrial conference to 8-22-2019

12             [Doc-21].

13   20.       On 8-9-2019, I formally retained litigation counsel Baruch Cohen to defend me in this action,

14             who then filed the Substitution of Attorney [Doc-25] on 8-12-2019. But before being formally

15             retained, Cohen specifically inquired of me whether I received any discovery from Plaintiff

16             in this adversary. I responded that he did not. On that basis, Cohen took the case, and was

17             contemplating filing a declaration pursuant to LBR 7016-1(E)(2). Cohen then checked

18             PACER and discovered Plaintiff’s Unilateral Pre Trial and Declaration filings of 8-8-2019,

19             and was surprised, to see that I did not respond to Plaintiff’s RFA’s, and were deemed

20             admitted. Cohen needed to see the RFA’s (that were omitted from Plaintiff’s 8-8-2019,

21             Unilateral Pre-Trial Stipulation and Declaration, and instructed me to request my entire file

22             from Bereliani.

23   21.       On 8-7-2019 at 10:42am, I wrote Berliani (copying Cohen) and demanded my file from her

24             pursuant to the California Rule of Professional Responsibility 4-100(B)4, that provides that

25
               42
26             A true and correct copy of Plaintiff’s 3-7-2019 Requests for Admission [Set One] is attached
     hereto as Exhibit “7” and is incorporated herein by this reference.
27
               43
              A true and correct copy of Plaintiff’s 8-8-2019 Unilateral Pre-Trial Stipulation [Doc-23] is
28   attached hereto as Exhibit “8” and is incorporated herein by this reference.

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 1             an attorney must promptly pay or deliver, as requested by the client, any funds, securities, or

 2             other properties in the possession of the member which the client is entitled to receive.

 3             On 8-7-2019, at 2:17pm, Berliani wrote back:

 4             “Not much - Nick went MIA on us shortly after the beginning and we just bought him
               time with the Tee's attorney... “ [Emphasis added]44
 5
     22.       In her 8-7-2019 email, Bereliani sent the following 12 documents to me and Cohen: (1) The
 6
               Complaint; (2) the Retainer Agreement; (3) A Waiver of Conflict of Interest for a Joint
 7
               Representation signed by Nick Silao; (4) A Waiver of Conflict of Interest for a Joint
 8
               Representation signed by Ray Silao; (5) A Paypal receipt of Nick''s payment to you; (6) the
 9
               Answer to the Complaint; (7) Another copy of the Answer to the Complaint; (8) the filed JSR;
10
               (9) the filed Scheduling Order; (10) a blank form Substitution of Attorney; (11) the Order
11
               Granting your Motion to Withdraw; & (12) the LOU receipt of her Order Granting her Motion
12
               to Withdraw.
13
     [Note: Berliani did not acknowledge in her file, and did not produce to us Plaintiff’s RFA’s,
14
     notwithstanding Plaintiff’s 3-7-2019 Proof of Service to her while she was still Defendant’s
15
     counsel (Bereliani moved to withdraw as counsel of record on 3-15-2019) [Doc-12]).
16
     23.       On Friday 8-9-2019 at 11:22am, Cohen wrote Plaintiff’s counsel at my urging, to meet &
17
               confer regarding Plaintiff’s Unilateral Pre Trial [Doc-23] and Declaration [Doc-24] in
18
               advance of the upcoming Pre Trial hearing of 8-22-2019. Cohen further stated that I have
19
               evidence to dispute Plaintiff’s turnover claim for $137,000.00, that I have witnesses and
20
               exhibits re same. Cohen produced these documents to counsel sight unseen, without the
21
               Plaintiff having to formally demand them from me to substantiate my claim that I have
22
               exhibits to support my defense. I presented to Cohen who then presented to Plaintiff:
23
               a.     Pandora’s loan report to the Silao brothers reflecting that during the period of 12-16-
24
                      2013 - 5-20-2015, Defendant lent Pandora approximately $442,000.00 (and that his
25
                      brothers Michael Silao lent Pandora $70,000.00, Sam Silao lent Pandora $6,000.00,
26

27
               44
              A true and correct copy of Berliani’s 8-7-2019 at 2:17pm letter to Cohen is attached hereto
28   as Exhibit “9” and is incorporated herein by this reference.

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 1                  & Ray Silao lent Pandora $143,911.37, totaling $662,411.37).

 2             b.   The last page of Pandora’s 2014 tax return (FYE 12-31-2014) Form 1120, Page 5,

 3                  Schedule L, Line 19, entitled: “Loans from Shareholders” showing that my client was

 4                  owed $389,750.00 by Pandora for that year (“Loan Payable N Silao”);

 5             c.   The last page of Pandora’s 2015 tax return (FYE 12-31-2015) Form 1120, Page 5,

 6                  Schedule L, Line 19, entitled: “Loans from Shareholders” showing that my client was

 7                  owed between $389,750.00 - $297,250.00 by Pandora for that year (“Loan Payable

 8                  N Silao”);

 9             d.   Pandora’s Balance Sheet as of 12-31-2015, under the section entitled: “Liabilities &

10                  Equity” reflecting “Loan/Financing Payable N. Silao $297,250.00;

11             e.   The last page of Pandora’s 2016 tax return (FYE 12-31-2016) Form 1120, Page 5,

12                  Schedule L, Line 19, entitled: “Loans from Shareholders” showing that my client was

13                  owed between $297,250.00 - $295,250.00 by Pandora for that year (“Loan Payable N

14                  Silao”);

15             f.   Pandora’s (9) checks to my client that contain the notation: “Reimbursement - Loan:”

16                  i.     Pandora’s 7-31-2015 check # 9001 to Defendant for $25,000.00;

17                  ii.    Pandora’s 9-4-2015 check # 9002 to Defendant for $25,000.00 contains the

18                         notation: “Loan Repayment;”

19                  iii.   Pandora’s 9-15-2015 check # 1112 to Defendant for $2,500.00 contains the

20                         notation: “Reimbursement - Loan;”

21                  iv.    Pandora’s 10-9-2015 check # 9003 to Defendant for $25,000.00 contains the

22                         notation: “Loan Repayment;”

23                  v.     Pandora’s 10-15-2015 check # 1130 to Defendant for $2,500.00 contains the

24                         notation: “Reimbursement;”

25                  vi.    Pandora’s 11-1-2015 check # 1131 to Defendant for $2,500.00 contains the

26                         notation: “Reimbursement;”

27                  vii.   Pandora’s 11-2-2015 check # 0005 to Defendant for $25,000.00 contains the

28                         notation: “Loan Repayment;”

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 5    Attorney For Defendant Nicholas Silao

 6

 7                                         UNITED STATES BANKRUPTCY COURT

 8                                            CENTRAL DISTRJCT OF CALIFORNIA

 9                                                         RJVERSIDE DIVISION

10

11     In re                                                           Case No. 6:17-bk-19336-SY
                                                                       Adv. 6:18-ap-01193-SY
12     PANDORA HOSPICE CARE, INC.                                      Before the Honorable Scott H. Yun

13                    Debtor                                           Chapter 7

14                                                                     [PROPOSED] JOINT STIPULATION IN
       KARL T. ANDERSON, CHAPTER 7                                     CONNECTION WITH DEFENDANT'S
 15    TRUSTEE                                                         MOTION TO ALLOW WITHDRAWAL OF
                                                                       DEEMED ADMISSIONS F.R.C.P. 36(B)
16                             Plaintiff
                                                                       Date: 3-26-2020
       vs.                                                             Time: 1:30pm
 17                                                                    Place: United States Bankruptcy Court
       NICHOLAS SILAO                                                  Central District of California
 18                                                                    3420 Twelfth Street, Suite 345 I Courtroom 302
                              Defendant                                Riverside, CA 92501-3819
19

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21
22              This Joint Stipulation is submitted in connection with Defendant Nicholas Silao (hereinafter,

23    "Defendant")' s Motion to allow withdrawal of deemed admissions.

24
25    DATED:               February 19, 2020                          LAW OFFICE OF BARUCH C. COHEN, APLC

26                                                                    By     /S/ Baruch C. Cohen
                                                                      Baruch C. Cohen, Esq.
27                                                                    Attorney For Defendant Nicholas Silao

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 1   [PROPOSED] JOINT STIPULATION IN CONNECTION WITH DEFENDANT'S MOTION

 2   TO ALLOW WITHDRAW AL OF DEEMED ADMISSIONS F.R.C.P.                                    36(B)

 3   1.        STIPULATED FACTS

 4             a.         On 11-8-2017, the Debtor Pandora Hospice Care, Inc., commenced this bankruptcy

 5                        proceeding Case No. 6:17-bk-19336-SY.

 6             b.         On 10-2-2018, Plaintiff filed this adversary action entitled: Karl T. Anderson against

 7                        Nicholas Silao, Adversary case 6:18-ap-01193 [Doc-1]

 8             c.         On 10-31-2018, Defendant, represented by Sanaz S. Bereliani ("Bereliani ") filed an

 9                        Answer to the Complaint [Doc-4]. Nothing in the pleadings indicated Bereliani's

10                        scope of representation was in any way limited in the Adversary Proceeding.

11             d.         On 1-2-2019, the parties filed a Joint Status Report [Doc-5]. Of particular interest, in

12                        Section A4 ofthe Joint Status Report the parties acknowledged that they did not meet

13                        & confer pursuant to LBR 7026-1.

14             e.         Pursuant to the Status Conference and Scheduling Order Pursuant to LBR

15                        7016-l(a)(4) [Doc-10], the discovery cutoff was 6-28-2019, the pre-trial stipulation

16                        was due 8-1-2019, the pretrial hearing was 8-15-2019, and the mediation completion

17                        date was 7-31-2019.

18             f.         Both parties did not serve each other with Initial Disclosures pursuant to F.R.C.P.

19                        26(f)(l).

20             g.         On 3-7-2019, Plaintiff's counsel propounded Requests for Admission [Set One}

21                        ("RFA's") to Defendant, and mailed it to Bereliani at her office at the Bereliani Law

22                        Firm, 11400 W Olympic Blvd Ste 200, Los Angeles, CA 90064. 1

23             h.         Defendant did not respond to Plaintiff's RFA's.
24             i.         At no point was any mail, including the RFAs addressed to Defendant's prior counsel,

25                        returned due to a mail or address problem.

26

27             1
             Pursuant to F.R.C.P. 36(a)(3) and F.R.C.P. 6(d), Defendant had 35 days from 3-7-2019 to
28   serve Plaintiff with a written response to the RFA's or by 4-11-2019.

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  1             J.         On 3-15-2019, Bereliani moved to withdraw as counsel of record [Doc-12], and on 4-

 2                         16-2019, the Court entered its Order Granting Motion To Withdraw As Counsel Of

 3                         Record [Doc-16].

 4              k.         On or about July 29, 2019, Plaintiffs counsel called Defendant Nick Silao at the

  5                        telephone number listed on the Court's Docket. Plaintiff's counsel left a message

 6                         informing Defendant Nick Silao as to the Joint Pre-Trial Stipulation process and how

 7                         his participation was imperative. Defendant, Nick Silao never responded to Plaintiffs

  8                        counsel's meet and confer telephone call.

 9              1.         Also on July 29, 2019, Plaintiffs counsel sent, via overnight Federal Express to

 10                        Defendant, Nick Silao at his address noted on the PACER Docket (25 Central Park

 11                        South, New York, New York 10019), the draft Joint Pre-Trial Stipulation. The cover

 12                        letter informed Defendant Nick Silao that his input to the Joint Pre-Trial Stipulation

 13                        was needed on or before August 5, 2019.

 14              m.        At no point did Defendant Nick Silao, either personally or through a representative

 15                        respond to Plaintiffs counsel's phone call or in any way participate in the Joint Pre-

 16                        Trial Stipulation process.
 17             n.         On 8-5-2019, the Court entered an Order Rescheduling the pretrial conference to 8-22-

 18                        2019 [Doc-21].

 19             0.         On 8-8-2019, Plaintiffs counsel filed his Unilateral Pre Trial [Doc-23] that asserted

20                         that the RFA's were deemed admitted.2

21              p.         On 8-9-2019, Defendant retained litigation counsel Baruch Cohen to defend him in

22                         this action, who then filed the Substitution ofAttorney [Doc-25] on 8-12-2019

23               q.        On 9-4-2019, Cohen served Plaintiff's Counsel with Defendant's Verified Response
24                         to Request for Admissions (denying the above-referenced RFA's).
25              r.         On 9-25-2019, Defendant filed this Motion to Allow Withdrawal of Deemed
26
27              2
              The failure to timely respond to Requests for Admission results in automatic admission of
28    the matters requested. F.R.C.P. 36(a)(3)

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 1                        Admissions pursuant to F.R.C.P.                    36(B)[Doc-31].

 2              s.        On November 26, 2019, the Court, sua sponte, denied, without prejudice, Defendant

 3                        Nick Silao's Motion re Vacate Deemed RFAs. Specifically, the Court ruled that

 4                        Defendant's Motion was procedurally incorrect and failed to comply with the Local

 5                        Bankruptcy Rules.

 6             t.         Again on January 2, 2020, Defendant Nick Silao, through his counsel filed/lodged a

 7                        proposed Stipulation re: Set Aside Deemed Admitted RFAs. Shortly thereafter, on

 8                        January 22, 2020, Defendant Nick Silao through his counsel, withdrew his proposed

 9                        Stipulation re: Deemed Admitted RFAs.

10             u.         Also, again on January 22, 2020, Defendant Nick Silao, through his counsel, filed a

11                        Motion for Order re: Vacate Deemed Admitted RFAs.

12             v.         On January 23, 2020, the Court conducted a continued Joint Pre-Trial Hearing.

13                        During the Court's Pre-Trial Conference, the Court admonished Defendant's counsel

14                        and ordered him to again withdraw his recently filed (third) Motion for Order re:

15                        Vacate Deemed Admitted RFAs. Consequently, on January 24, 2020, Defendant, Nick

16                        Silao, through his counsel, withdrew his third Motion for Order Re: Vacate Deemed

17                        Admitted RFAs.

18

19   2.        DISPUTED FACTS

20             a.         PLAINTIFF:

21                        Due to Defendant, Nick Silao's repeated lack of diligence and to comply with the

22   applicable Local and Federal Bankruptcy Rules, his Deemed Admitted RFAs should not be set aside.

23             b.         DEFENDANT
24                        i.         Prior to being retained, Cohen specifically inquired of Defendant whether he
25                                   received any discovery from Plaintiff in this adversary. He replied that he did
26                                   not. On that basis, Cohen took the case.
27                        ii.        Additionally, prior to being retained, Cohen instructed Defendant to write
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  1                                   Berliani, which he did on 8-7-2019 at 10:42am (copying Cohen), demanding

  2                                   his file from her pursuant to the California Rule of Professional Responsibility

  3                                   4-100(B)4, that provides that an attorney must promptly pay or deliver, as

  4                                   requested by the client, any funds, securities, or other properties in the

  5                                   possession of the member which the client is entitled to receive.

  6                        lll.       Cohen was prepared to file a declaration pursuant to LBR 7016-1 (E)(2), when

  7                                   he checked PACER and discovered Plaintiffs Unilateral Pre Trial and

  8                                   Declaration filings of 8-8-2019, and was surprised, to see that Plaintiff indeed

  9                                   propounded the RFA's to Bereliani, that Defendant did not respond, and

 10                                   Plaintiff is deeming the RFA's admitted.

 11                        iv.        Defendant never received Plaintiffs RFA's from Bereliani. The first time that

 12                                   Defendant was made aware of Plaintiff's RFA's was when Cohen discovered

 13                                   Plaintiff's Unilateral Pre Trial and Declaration filings of 8-8-2019.

 14                        v.         On 8-7-2019, at 2:18pm, Berliani wrote back to Defendant (and copied

 15                                   Cohen): 11 Not much - Nick went MIA on us shortly after the beginning and we
                                                                                          11
 16                                   just bought him time with the Tee's attorney...          [Emphasis added] and sent

 17                                   Cohen and Defendant the following 12 documents from her file (and no

 18                                   others): (1) The Complaint; (2) The Retainer Agreement; (3) A Waiver of

 19                                   Conflict of Interest for a Joint Representation signed by Nick Silao; (4) A

 20                                   Waiver of Conflict of Interest for a Joint Representation signed by Ray Silao;

 21                                   (5) A Paypal receipt of Defendant' s payment to her; (6) The Answer to the

 22                                   Complaint; (7) Another copy of the Answer to the Complaint; (8) The filed

 23                                   JSR; (9) The filed Scheduling Order; (10) A blank form Substitution of
 24                                   Attorney; (11) The Order Granting her Motion to Withdraw; & (12) The LOU

 25                                   receipt of her Order Granting her Motion to Withdraw. 3

 26
                3
 27           Note: Berliani did not acknowledge in her file Plaintiff's RFA's, notwithstanding
      Plaintiff's 3-7-2019 Proof of Service to her while she was still Defendant's counsel (Bereliani
 28   moved to withdraw as counsel of record on 3-15-2019 [Doc-12))

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  1                        vi.        On 8-8-2019, at 6:53am, Cohen wrote Berliani: "True for the prompt reply...

 2                                    Was any discovery done in this adversary? If so, please send them."

 3                         vii.       On 8-8-20189 at 8:216am, Berliani responded: "Per my previous email, there

 4                                    was no communication by your client so no nothingfurther was done. They

  5                                   retained me on a limited scope and were not in touch after with further

 6                                    instruction or guidance. I recommend calling Trustees counsel regarding case

 7                                    status, I'm surprised they haven't filed anything else yet. Nick got lucky."

  8                                   [Emphasis added].

 9                         vm.        On 8-9-2019 at 6:34am, Cohen wrote Berliani informing her that Plaintiffs

 10                                   Unilateral Pretrial stated that Plaintiff had indeed propounded the RFA's to

 11                                   her. Cohen asked Berliani why didn't Berliani produce to Defendant and

 12                                   Cohen a copy of Plaintiff's RFA's?

 13                        lX.        On 8-9-2019 at 12:17pm, Berliani responded: "Ps I'll speak to my office

 14                                   regarding receipts of anything on their end but please note we were retained

 15                                   specificallyfor an answer andjoint status report and conference. We had no

 16                                  further involvement or guidance. Lastly, I appreciate your professionalism

 17                                   going forward." [Emphasis added].

 18                        x.         On 9-11-2019 Cohen wrote Berliani informing her again that Plaintiff's RFA's

 19                                   were served on her office on 3-7-2019 at her address "Sanaz S. Bereliani,

20                                    Bereliani Law Firm, 11400 W . Olympic Blvd., Suite 200, Los Angeles, CA

21                                    90064. Since she moved to withdraw on 3-15-2019, she must have had the

22                                    3-7-2019 RFA's in her file. Yet, she did not produce it to Defendant or to

23                                    Cohen in violation of Rule 4-100(b)(4). Cohen was very concerned that she

24                                    had this RFA in her file, never shared it with Defendant, and did not produce

25                                    it when Defendant and Cohen demanded it. So Cohen asked her again: "Was
26                                    any discovery done in this adversary? If so, please send them." Cohen was very

27                                    concerned that now the RFA's were deemed admitted, and Defendant will now

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 I                                   have to spend money to file a Motion to have the Deemed Admissions

 2                                   Withdrawn, which he should not have to do, had she forwarded to him the

 3                                   RFA's when she received it on 3-7-2019.

 4                        xi.        On 9-12-2019, Cohen spoke with Berliani, who represented that the only

 5                                   documents she had in her file were those that she forwarded to Cohen earlier.

 6                                   When pressed again whether she had the RFA's in her file, she repeated again,

 7                                   that the only documents she had in her file were those that she forwarded to

 8                                   Cohen earlier. [Emphasis added].

 9

10   DATED:               February 19, 2020                          LAW OFFICE OF BARUCH C. COHEN, APLC

11                                                                   By     /S/ Baruch C. Cohen
                                                                     Baruch C. Cohen, Esq.
12                                                                   Attorney For Defendant Nicholas Silao

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     DATED:               February 19, 2020
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                                                                     By
15                                                                   Tho~m~as::-i~.~P~o~li~s,TE~s~q~.==::::;;tt«-----~
                                                                     Attorney For Plaintiff Karl T. Anderson, Chapter 7
16                                                                   Trustee

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                  4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: Defendant’s Renewed Motion to Allow Withdrawal of
Deemed Admissions F.R.C.P. 36(b); Declarations of Baruch C. Cohen, Nicholas Silao & Sanaz S. Bereliani at
Docket #44 & the Amended Motion at Docket #45 will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
2/25/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Baruch C Cohen                bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
Karl T Anderson (TR)          2edansie@gmail.com, kanderson@ecf.axosfs.com
Thomas J Polis (PL)           tom@polis-law.com, paralegal@polis-law.com; r59042@notify.bestcase.com
US Trustee (RS)               ustpregion16.rs.ecf@usdoj.gov


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 2/25/2020, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 2/25/2020,, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Hon. Scott H. Yun, USBC, Central District of California, 3420 Twelfth Street, Suite 345, Riverside CA 92501




                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 2/25/2020                      Baruch C. Cohen, Esq.                                           /s/ Baruch C. Cohen
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
